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EXHIBIT J
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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
In re: ) Chapter 11
)
SENTINEL MANAGEMENT GROUP, INC., ) Case No. 07—14987
)
Debtor. ) Honorable John H. Squires
)
)
)

DISCLOSURE STATEMENT PURSUANT TO SECTION 1125 OF THE
BANKRUPTCY CODE FOR THE AMENDED CHAPTER 11 PLAN OF LIQUIDATION

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Chapter 11 Trustee

Unsecured Creditors of Sentine! Management Group, Inc.

Dated: Chicago, Illinois
June 18, 2008
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ALL CUSTOMERS AND OTHER CREDITORS ARE ADVISED AND
ENCOURAGED TO READ THIS DISCLOSURE STATEMENT AND THE PLAN IN
THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN. PLAN
SUMMARIES AND STATEMENTS MADE IN THIS DISCLOSURE STATEMENT,
INCLUDING THE FOLLOWING SUMMARY, ARE QUALIFIED IN THEIR ENTIRETY
BY REFERENCE TO THE PLAN, OTHER EXHIBITS ANNEXED TO THE PLAN, THE
PLAN SUPPLEMENT, AND THIS DISCLOSURE STATEMENT. THE FACTUAL
INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT, INCLUDING
THE DESCRIPTION OF THE DEBTOR, ITS BUSINESS, AND EVENTS LEADING TO
THE COMMENCEMENT OF THE CHAPTER 11 CASE, HAS BEEN OBTAINED FROM
VARIOUS DOCUMENTS, AGREEMENTS, AND OTHER WRITINGS RELATING TO
THE DEBTOR. THE STATEMENTS CONTAINED IN THE DISCLOSURE
STATEMENT ARE MADE ONLY AS OF THE DATE HEREOF UNLESS OTHERWISE
SPECIFIED, AND THERE CAN BE NO ASSURANCE THAT THE STATEMENTS
CONTAINED HEREIN WILL BE CORRECT AT ANY TIME AFTER SUCH DATE.
THE FINANCIAL INFORMATION CONTAINED HEREIN HAS NOT BEEN THE
SUBJECT OF A CERTIFIED AUDIT. THIS DISCLOSURE STATEMENT IS
ACCURATE TO THE BEST OF THE PLAN PROPONENTS' KNOWLEDGE,
INFORMATION AND BELIEF; HOWEVER, THE PLAN PROPONENTS ARE UNABLE
TO WARRANT OR REPRESENT THAT THE INFORMATION CONTAINED HEREIN
IS WITHOUT INACCURACIES. ANY ESTIMATES OF CLAIMS SET FORTH IN THIS
DISCLOSURE STATEMENT MAY VARY FROM THE FINAL AMOUNTS OF
CLAIMS ALLOWED BY THE BANKRUPTCY COURT.

THE DESCRIPTIONS OF DISTRIBUTIONS TO BE MADE UNDER THE
PLAN ARE BASED ON SEVERAL KEY ASSUMPTIONS INCLUDING, AMONG
OTHERS, THE ESTIMATED CLAIMS POOL AND PROJECTED REALIZABLE
VALUE FROM PROPERTY (OTHER THAN CAUSES OF ACTION, WHICH HAVE
NOT BEEN ASSIGNED ANY PROJECTED VALUE FOR THESE PURPOSES DUE TO
THE UNCERTAIN NATURE OF LITIGATION). SIGNIFICANTLY, THESE
PROJECTIONS INCLUDE ESTIMATED SECURITIES MARKET VALUES THAT ARE
OPINIONS AND ESTIMATES ONLY (SUBJECT TO REVISION), AND ARE
PROVIDED FOR INFORMATIONAL PURPOSES ONLY. NO ASSURANCE,
PREDICTION OR INVESTMENT ADVICE REGARDING PAYMENT IS MADE OR
IMPLIED. ACTUAL CLAIMANT RECOVERIES COULD VARY SUBSTANTIALLY
FROM THOSE SET FORTH IN THIS DISCLOSURE STATEMENT.

ALL CUSTOMERS AND OTHER CREDITORS SHOULD READ
CAREFULLY THE "RISK FACTORS" SECTION HEREOF BEFORE VOTING FOR OR
AGAINST THE PLAN. SEE "CERTAIN RISK FACTORS TO BE CONSIDERED"
SECTION VIII.

THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN
ACCORDANCE WITH SECTION 1125 OF THE BANKRUPTCY CODE AND RULE
3016 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE AND NOT
NECESSARILY IN ACCORDANCE WITH FEDERAL OR STATE SECURITIES LAWS
OR OTHER APPLICABLE LAW. THIS DISCLOSURE STATEMENT HAS BEEN

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NEITHER APPROVED NOR DISAPPROVED BY THE SECURITIES AND
EXCHANGE COMMISSION (THE "SEC") OR THE COMMODITY FUTURES
TRADING COMMISSION (THE "CFTC") NOR HAS THE SEC OR CFTC PASSED
UPON THE ACCURACY OR ADEQUACY OF THE STATEMENTS CONTAINED
HEREIN.

THE INFORMATION IN THIS DISCLOSURE STATEMENT IS BEING
PROVIDED SOLELY FOR PURPOSES OF VOTING TO ACCEPT OR REJECT THE
PLAN. NOTHING IN THIS DISCLOSURE STATEMENT MAY BE USED BY ANY
ENTITY FOR ANY OTHER PURPOSE.

THE TERMS OF THE PLAN GOVERN IN THE EVENT OF ANY
INCONSISTENCY WITH THE SUMMARIES IN THIS DISCLOSURE STATEMENT.
AS TO CONTESTED MATTERS, EXISTING LITIGATION, OR POSSIBLE
ADDITIONAL LITIGATION, ADVERSARY PROCEEDINGS, AND OTHER ACTIONS
OR THREATENED ACTIONS, THIS DISCLOSURE STATEMENT WILL NOT
CONSTITUTE OR BE CONSTRUED AS AN ADMISSION OF ANY FACT OR
LIABILITY, STIPULATION, OR WAIVER, BUT RATHER AS A STATEMENT MADE
WITHOUT PREJUDICE SOLELY FOR SETTLEMENT PURPOSES, WITH FULL
RESERVATION OF RIGHTS, AND IS NOT TO BE USED FOR ANY LITIGATION
PURPOSE WHATSOEVER, AS SUCH, THIS DISCLOSURE STATEMENT WILL NOT
BE ADMISSIBLE IN ANY NONBANKRUPTCY PROCEEDING, ADVERSARY
PROCEEDING OR OTHER ACTION INVOLVING THE DEBTOR OR ITS BUSINESS,
OR ANY OTHER PARTY IN INTEREST, NOR WILL IT BE CONSTRUED TO BE
CONCLUSIVE ADVICE ON THE TAX, SECURITIES, FINANCIAL OR OTHER
EFFECTS OF THE PLAN AS TO HOLDERS OF CLAIMS AGAINST OR EQUITY
INTERESTS IN THE DEBTOR.

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I.
INTRODUCTION

The Official Committee of Unsecured Creditors (the "Creditors
Committee") of Sentinel Management Group, Inc. ("Sentinel" or the "Debtor"), and
Frederick J. Grede, solely in his capacity as Chapter 11 trustee for Sentinel (the "Chapter
11 Trustee" and, together with the Creditors Committee, the "Plan Proponents"), in the
above-captioned Chapter 11 case (the "Chapter 11 Case"), submit this disclosure
statement (this "Disclosure Statement"), pursuant to Section 1125 of Title 11 of the
United States Code, 11 U.S.C. §§ 101 et seg. (as amended, the "Bankruptcy Code"), to
holders of Claims against the Debtor in connection with (1) the solicitation of acceptances
of the Chapter 11 Plan of Liquidation, dated May 12, 2008, as such plan may be amended
(the "Plan"), filed by the Plan Proponents with the United States Bankruptcy Court for
the Northern District of Illinois, Eastern Division (the "Bankruptcy Court"), and (ii) the
hearing to consider confirmation of the Plan (the "Confirmation Hearing"). Unless
otherwise defined herein, all capitalized terms contained herein have the meanings
ascribed to them in the Plan, a copy of which is attached hereto as Exhibit A.

Concurrently with the filing of this Disclosure Statement, the Plan
Proponents filed the Plan which sets forth how Claims against and Equity Interests in the
Debtor will be treated. This Disclosure Statement describes certain aspects of the Plan,
the Debtor's prior operations, significant events occurring in the Chapter 11 Case and
other related matters. FOR A COMPLETE UNDERSTANDING OF THE PLAN, YOU
SHOULD READ THIS DISCLOSURE STATEMENT, THE PLAN AND THE
EXHIBITS HERETO AND THERETO IN THEIR ENTIRETY.

The Plan constitutes a liquidating Chapter 11 plan for the Debtor. The
Plan incorporates a pro rata distribution scheme for all of Sentinel's Customers while
preserving the rights of Customers to challenge the propriety of such a scheme and to
litigate the issue post-confirmation. The Plan provides for the Debtor's Property to be
liquidated, and for the proceeds of the liquidation, and any recoveries obtained from
litigation against third-parties, to be distributed to holders of Allowed Claims in
accordance with the terms of the Plan and the priority of claims provisions of the
Bankruptcy Code. The Plan further provides that, upon the Transfer Date all of the
Debtor's Property will be transferred to the Liquidation Trust for the liquidation,
administration, and distribution of the Debtor's Property by the Liquidation Trustee.

The Liquidation Trustee, in consultation with the Liquidation Trust
Committee will be responsible for implementing and administering the Plan in
accordance with the terms of the Plan, the Trust Agreement, and applicable law.
Additionally, the Liquidation Trustee will initiate and defend Causes of Action on behalf
of the Estate after the Plan is Confirmed and consummated. Creditors do not have to wait
until the final resolution of these Causes of Action before they receive distributions under
the Plan. Rather, the Plan provides for distributions to occur on the Effective Date or as
soon thereafter as is practicable. The Plan also provides for distributions at various
intervals after the initial distributions, which will enable the distribution of any resulting
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recoveries from disposition or liquidation of the Remaining Assets and/or the Trust
Assets, including the Causes of Action, in accordance with the Plan. Assignment of
Claims will be recognized with distributions made to valid assignees up through and
including December 15, 2008, after which the Liquidation Trust will make distributions
to Claim Holders of record as of such date.

In terms of distributions under the Plan, the Plan Proponents believe that
those Creditors who were Customers of the Debtor will be treated equally, receiving pro
rata treatment based on the amount of their Claims. To this end, the Plan includes a
mechanism to ensure that any Customers who previously received distributions from the
proceeds of the Citadel Transaction (described below in Section IV.D. of the Disclosure
Statement), will not be entitled to receive distributions until the other Customers who did
not receive distributions from the Citadel Transaction have achieved the same Percentage
Recovery including accrued Interest from the respective dates of such distributions. The
Plan provides for such a “catch-up” mechanism with regard to both Class 3 and Class 4
Claims of Customers and the imputation of Interest on the Citadel Sale Distributions and
the SEG 1 Special Distributions to provide for equal treatment among similarly situated
Creditors as required by the Bankruptcy Code. Such provision is pursuant to the Plan’s
underlying concept that Customers of Sentinel were all similarly situated Creditors prior
to the distribution of the Citadel Sale Distributions and the SEG 1 Special Distributions
and that, under the Bankruptcy Code, all Customers have an equal right to receive
distributions from Sentinel, including the time of such distributions. The Plan further
provides Customers who previously received distributions from the proceeds of the
Citadel Transaction with the opportunity to settle and limit their potential exposure to
avoidance or other claims in the event that the insufficient funds are recovered to permit
all Customers to achieve the same Percentage Recovery.

Attached as Exhibits to this Disclosure Statement are copies of the
following:

e The Plan (Exhibit A);

e In an effort to aid Creditors in their decisions on how to vote, a liquidation
analysis (Exhibit B);

° A term sheet which summarizes the terms of the Settlements embodied in
the Plan (Exhibit C);

° In addition, a proposed Ballot for the acceptance or rejection of the Plan is

enclosed with this Disclosure Statement for the Holders of Claims that the
Plan Proponents believe are entitled to vote to accept or reject the Plan.

The Solicitations Procedures Order sets forth in detail the deadlines,
procedures and instructions for voting to accept or reject the Plan and for filing objections
to confirmation of the Plan, the record date for voting purposes, and the standards for
tabulating Ballots. In addition, detailed voting instructions accompany each Ballot. Each
Holder of a Claim entitled to vote on the Plan should read in their entirety the Disclosure
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Statement, the Plan, the Solicitation Procedures Order, and the instructions
accompanying the Ballots before voting on the Plan. These documents contain, among
other things, important information concerning the classification of Claims and Equity
Interests for voting purposes and the tabulation of votes. No solicitation of votes to
accept the Plan may be made except pursuant to Section 1125 of the Bankruptcy Code.

APPROVAL OF THIS DISCLOSURE STATEMENT DOES NOT,
HOWEVER, CONSTITUTE A DETERMINATION BY THE BANKRUPTCY COURT
AS TO THE FAIRNESS OR MERITS OF THE PLAN.

A. Holders of Claims Entitled to Vote

Pursuant to the provisions of the Bankruptcy Code, only holders of
"allowed" claims or interests in classes of claims or interests that are "impaired" are
entitled to vote to accept or reject a proposed Chapter 11 plan. Classes of claims in
which the holders of claims are unimpaired under a Chapter 11 plan are deemed to have
accepted the plan and are not entitled to vote to accept or reject the plan.

Classes 1 and 2 of the Plan are Unimpaired (subject to a Bankruptcy Court
finding that a Holder of a Claim in Class 2 has had its legal rights altered sufficiently to
impair its Claim). Holders of Claims in Classes 1 (Other Priority Claims) and 2 (Secured
Claims) are conclusively deemed to have accepted the Plan. Classes 3 (Customer
Claims), 4 (General Unsecured Claims), and 5 (Subordinated Claims) of the Plan are
Impaired. To the extent Claims in Classes 3 and 4 are not Disputed Claims, Holders of
such Claims are entitled to vote to accept or reject the Plan. Holders of Claims in
Classes 5 and Holders of Equity Interests in Class 6 are deemed to have rejected the Plan
and are therefore not entitled to vote. Accordingly, the Plan Proponents are soliciting
acceptances only from Holders of Allowed Claims in Classes 3 and 4.

The Bankruptcy Code defines "acceptance" of a plan by a class of claims
as acceptance by creditors in that class that hold at least two-thirds in dollar amount and
more than one-half in number of the claims that cast ballots for acceptance or rejection of
the plan. For a more detailed description of the requirements for confirmation of the
Plan, see Section VII., "Confirmation Procedure."

Section 1129(b) of the Bankruptcy Code permits the confirmation of a
plan notwithstanding the nonacceptance of a plan by one or more impaired classes of
claims or interests. Under that Section, a plan may be confirmed by a court if it does not
"discriminate unfairly" and is "fair and equitable" with respect to each nonaccepting
class. For a more detailed description of the requirements for confirmation of a
nonconsensual _ plan. See Section VII.C.2., "Confirmation Procedure—Unfair
Discrimination and Fair and Equitable Tests.". The Plan Proponents reserve the right to
amend the Plan or to undertake to have the Bankruptcy Court confirm the Plan under
Section 1129(b) of the Bankruptcy Code, if any impaired classes of claims or interests
entitled to vote do not accept the Plan by the requisite statutory majorities required under
the Bankruptcy Code.
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In addition, if the Bankruptcy Court is unwilling to approve this Plan, the
Creditors Committee reserves its right to file a motion to convert the case to a
stockbroker liquidation case under Subchapter III on the basis that Sentinel qualifies as a
stockbroker as defined by Section 101(53A) of the Bankruptcy Code, notwithstanding
that Sentinel may not have operated as a stockbroker for non-bankruptcy law purposes.

B. Voting Procedures

If you are entitled to vote to accept or reject the Plan, a Ballot is enclosed
for the purposes of voting on the Plan. If you hold Claims in more than one Class, and
you are entitled to vote Claims in more than one class, you will receive separate Ballots
which must be used for each separate class of Claims. Under the terms of the Solicitation
Procedures Order, you are required to vote all Ballots either in favor of or against the
Plan. Please note and return (or, for those Creditors with access, electronically file with
the Bankruptcy Court’s Electronic Case Filing system) your Ballot(s) to:

Clerk of the Court, Room 710, 219 South Dearborn Street,
Chicago, IL 60604

TO BE COUNTED, YOUR BALLOT INDICATING ACCEPTANCE OR
REJECTION OF THE PLAN MUST BE RECEIVED NO LATER THAN 4:00 P.M.
CENTRAL TIME, ON AUGUST 1, 2008 (THE "VOTING DEADLINE").

Any Claim in an impaired Class as to which (i) an objection or request for
estimation is pending or (ii) a proof of claim has not been filed and which is scheduled on
the Schedules as unliquidated, disputed, or contingent, is not entitled to vote unless the
Holder of such claims has obtained an order of the Bankruptcy Court temporarily
allowing such claim for the purpose of voting on the Plan. For additional information on
voting. See Section VIILA., "Confirmation Procedure—Solicitation of Votes."

Pursuant to the Solicitation Procedures Order, the Bankruptcy Court set
June 16, 2008 as the Voting Record Date for voting on the Plan. Accordingly, only
Holders of record as of June 16, 2008 that are otherwise entitled to vote under the Plan
will receive a Ballot and may vote on the Plan.

If you are a Holder of a Claim entitled to vote on the Plan and did not
receive a Ballot, received a damaged Ballot, or lost your Ballot, or if you have any
questions concerning the Disclosure Statement, the Plan, or the procedures for voting on
the Plan, please contact the Chapter 11 Trustee’s counsel, Jenner & Block LLP,
Christine L. Childers.

Cc. Confirmation Hearing

Pursuant to Section 1128 of the Bankruptcy Code, the Confirmation
Hearing will be held on August 12, 2008 at 1:00 p.m. (Central Time) before Judge John
H. Squires, Bankruptcy Judge of the Northern District of Illinois, Eastern Division,
219 S. Dearborn Chicago, IL 60604. The Bankruptcy Court has directed that objections,
if any, to confirmation of the Plan be filed and served so that they are received on or

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before August 1, 2008 in the manner described below in Section VII.B., "Confirmation
Procedure—The Confirmation Hearing." The Confirmation Hearing may be adjourned
from time to time by the Bankruptcy Court without further notice except for the
announcement of the adjournment date made at the Confirmation Hearing or at any
subsequent adjourned Confirmation Hearing.

THE PLAN PROPONENTS BELIEVE THAT THE PLAN WILL
PROVIDE THE LARGEST AVAILABLE RECOVERY TO CUSTOMERS AND
OTHER CREDITORS. THE PLAN PROPONENTS ALSO BELIEVE THAT
ACCEPTANCE OF THE PLAN, AND MAKING THE SETTLEMENT ELECTION
EMBODIED THEREIN, IS IN THE BEST INTERESTS OF CREDITORS AND
THEREFORE RECOMMEND THAT ALL CREDITORS VOTE TO ACCEPT THE
PLAN AND, IF APPLICABLE, THE SETTLEMENT ELECTION.

Il.
OVERVIEW OF CHAPTER 11

Chapter 11 is one of the principal business Chapters of the Bankruptcy
Code. Under Chapter 11 of the Bankruptcy Code, a debtor is authorized to reorganize or
liquidate its business for the benefit of itself, its creditors and interest holders. Another
goal of Chapter 11 is to promote equality of treatment for similarly situated creditors and
similarly situated interest holders with respect to the distribution of a debtor's assets.

The commencement of a Chapter 11 case creates an estate that consists of
all of the legal and equitable interests of the debtor as of the filing date. The Bankruptcy
Code provides that the debtor may continue to operate its business and remain in
possession of its property as a "debtor-in-possession.". The Bankruptcy Code also
provides that in certain situations, on request of a party-in-interest or the United States
Trustee, the Bankruptcy Court can order the appointment of a Chapter 11 trustee to
protect the interests of the debtor's estate, its creditors and other parties-in-interest.

The consummation of a Chapter 11 plan is the principal objective of a
Chapter 11 case. A Chapter 11 plan sets forth the means for satisfying claims against and
interests in a debtor. Confirmation of a plan by the bankruptcy court makes the plan
binding upon a debtor, any issuer of securities under the plan, any person acquiring
property under the plan and any creditor or interest holder of a debtor.

After a plan has been filed, certain holders of claims against or equity
interests in a debtor are permitted to vote to accept or reject the plan. Before soliciting
acceptances of the proposed plan, however, Section 1125 of the Bankruptcy Code
requires the plan proponent to prepare a disclosure statement containing adequate
information of a kind, and in sufficient detail, to enable a hypothetical reasonable
investor to make an informed judgment about the plan. The Plan Proponents are
submitting this Disclosure Statement to Holders of Claims in Class 3 and Class 4 in the
Debtor to satisfy the requirements of Section 1125 of the Bankruptcy Code.
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Til.
OVERVIEW OF THE PLAN
A. Introduction

Sentinel filed its voluntary petition to commence the Chapter 11 Case on
August 17, 2007 (the "Petition Date"). Shortly thereafter, on August 29, 2007, the
Bankruptcy Court ordered the appointment of the Chapter 11 Trustee who subsequently
uncovered extensive breaches of fiduciary duty and wrongdoing by certain Insiders and
others that are the subject of a number of pending lawsuits initiated by the SEC, certain
Customers, and the Chapter 11 Trustee, as described more fully below in Section V.I. and
J. As a result, Sentinel is a debtor in the Chapter 11 Case, but not a debtor-in-possession.

B. Summary of Distributions

Under the Plan, Claims against and Equity Interests in the Debtor are
divided into Classes. Certain unclassified Claims, including Administrative Claims and
Priority Tax Claims, will be paid in full in Cash once the Claims become Allowed
Claims. All other Claims and Equity Interests will be divided into Classes and will
receive the distributions and recoveries (if any) described in the table below.

The table (set forth below in Section III.C.) briefly summarizes the
classification and treatment of Claims and Equity Interests under the Plan. The Claims
estimates included therein are based upon, inter alia, knowledge gained from the
operation and wind-down of Sentinel’s business, as well as a review of Sentinel’s records
and proofs of claim filed by Creditors. Sentinel’s Schedules as filed with the Bankruptcy
Court contain outdated information which should not be relied upon in deciding whether
to vote in favor of the Plan.

 

 

C. Summary of Classification and Treatment of Claims and Equity
Interests Under the Plan’
Class and Type of Claim ‘Treatment Estimated
Estimated Or Interest Recovery
Amount
Unclassified Administrative | Non-Voting. Each Holder of 100%
$7,000,000 Claims an Allowed Administrative
Claim will receive payment in
full (in Cash).

 

 

 

 

 

 

 

This table is only a summary of the classification and treatment of Claims and
Equity Interests under the Plan. Reference should be made to this entire
Disclosure Statement and the Plan for a complete description of the classification
and treatment of Claims and Equity Interests.
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Class and Type of Claim Treatment Estimated
Estimated Or Interest Recovery
Amount
Unclassified | Priority Tax Claims | Non-Voting. Each Holder of 100%
$0 an Allowed Priority Tax Claim
will receive payment in full (in
Cash).
Class 1 Other Priority Unimpaired, Non-Voting. 100%
$0 Claims Each Holder of an Allowed
Other Priority Claim will
receive payment in full (in
Cash).
Class 2 Secured Claims Unimpaired, Non-Voting 100%
. (subject to a Bankruptcy
Estimated Court finding that a Holder
$312,247,000 has had its legal rights
(BONY Claim altered sufficiently to impair
is Disputed, its Claim). Each Holder of an
however, Allowed Secured Claim will
BONY also receive Cash or Collateral
asserts interest securing its Allowed Secured
accruing Claim in an amount equal to
thereon since such Allowed Secured Claim.
the Petition
Date and
continuing
postpetition
fees and
expenses)
Class 3 Customer Claims | Impaired, Voting. Holders of 35%"
Estimated | (All Claims arising Allowed Class 3 Customer
Amount: from Customer Claims will be entitled to a Pro
$1,220,320,123 deposits with Rata distribution of Customer
, (Holders of Sentinel) Property (property received,
Class 3 acquired, or held by or for, or
which should have been held

 

 

 

 

Estimated recovery on account of Class 3 Customer Claims does not include

Citadel Sale Distributions and SEG 1 Special Distributions to the extent received.
Further recoveries for Holders of Class 3 Customer Claims in receipt of Citadel
Sale Distributions and SEG 1 Special Distributions are entirely contingent upon
Causes of Action.
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Class and Type of Claim Treatment Estimated
Estimated Or Interest Recovery
Amount
Customer by or for, Customers). No
Claims are distributions will be made to
estimated to Citadel-Beneficiary Customers
consist of: until all other Customers
$738,964,040 receive the same Percentage
in Claims held Recovery distributions as the
by NonCitadel- Citadel-Beneficiary
Beneficiary Customers, including Interest
Customers and as provided for in the Plan. If
$48 1,356,083 such Customers do not receive
in Claims held the same Percentage Recovery
by Citadel- distributions, Citadel-
Beneficiary Beneficiary Customers that
Customers (of elect to enter into the
which settlement embodied in the
approximately Plan will be obligated to repay
$53,677,776 their True-up Amounts if
are arising out NonCitadel-Beneficiary
of participation Customers do not otherwise
in SEG 2, SEG receive distributions equivalent
3 or SEG 4) to the Release Distribution
Threshold. Citadel-
Beneficiary Customers who do
not elect to enter into the
settlement may face suit for
avoidance of the Citadel Sale
Distributions and the SEG 1
Special Distributions.
Class 4; General Unsecured | Impaired, Voting. Holders of Entirely
. Claims Allowed General Unsecured | contingent on
Estimated . : .
; Claims will be entitled to a Pro the value of
Amount: (all unsecured Saas
: . Rata distribution of Cash and assets and
$10,000,000 Claims against
. Cash proceeds of all Property Causes of
(plus | Sentinel other than il df ¢| Action that d
deficiency Claims otherwise not ‘alle er Cnet ction t at °
claims on defined in the owed Claims in other | not constitute
Classes, provided, however, Customer
account of Plan.) . .
Class 3 that subject to Section 10.10 of Property.
Cc the Plan, no distributions will
ustomer . :
. be made to Citadel-Beneficiary
Claims and .
Customers until all other
unsecured non- .
. Customers receive the same
subordinated

 

 
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Class and Type of Claim Treatment Estimated
Estimated Or Interest Recovery
Amount
claims of Percentage Recovery
BONY) distributions as the Citadel-
Beneficiary Customers
including Interest as provided
for in the Plan.
Class 5 Subordinated Impaired, Non-Voting. 0%
Estimated Claims Subordinated Claims will
Amount: receive no distributions on
$6,088,895 account of such Claims and are
(plus BONY deemed to reject the Plan.
claim, subject
to equitable
subordination
action filed by
Chapter 11
Trustee)
Class 6 Equity Interests Impaired, Non-Voting. 0%
100% Equity Holders of Equity Interests
Interests will receive no distributions on
owned by account of such Equity
Sentinel Interests and are deemed to
Investment reject the Plan.
Group, Inc.

 

 

 

IV.
HISTORICAL AND BACKGROUND INFORMATION

A. The Debtor

Sentinel is an Illinois corporation, headquartered in Northbrook, Illinois.
Prior to commencing the Chapter 11 Case, Sentinel was registered with (i) the SEC, as an
investment adviser under the Investment Advisers Act of 1940 (the "Advisers Act"), and
(ii) the CFTC, as a futures commission merchant ("FCM") under the Commodity
Exchange Act (7 U.S.C. § 1 et seq., the "CEA"). It was also a member of the National
Futures Association, a self-regulatory organization.

B. The Business

Sentinel managed investments of short-term cash for various customers,
including FCMs, hedge funds, financial institutions, pension funds and individuals.
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Sentinel was registered as an FCM with the CFTC so that it could accept and invest cash
constituting customer property of other FCMs. As a registered FCM, the Plan
Proponents assert that Sentinel was subject to the CFTC regulations governing the
segregation and investment of customer funds and the pledging of customer funds as
collateral for bank loans. BONY challenges this position and asserts that the CEA (and
consequently the related CFTC rules) did not apply to Sentinel.

Sentinel offered investors the opportunity to participate in a variety of
investment programs with specified investment parameters, including high-grade, liquid
securities such that Sentinel could return its customers' cash upon demand. Sentinel
entered into agreements with each of its investing customers (the "Investment
Agreements") which governed the terms of the relationship. The Investment Agreements
provided Sentinel with limited discretionary authority within specific investment
parameters to buy and sell securities without requesting additional authority from its
customers before executing trades on its customers' behalf.

While BONY disagrees, the Plan Proponents assert that CFTC regulations
and Rule 206(4)-2 of the Advisers Act required Sentinel to deposit the funds it received
from customers into segregated custodial accounts (the "Segregated Accounts").
Accordingly, Sentinel represented to its customers that it deposited its customers' assets
in segregated custodial accounts at BONY. Sentinel represented that it would pool the
assets of similar types of customers in one of four Segregated Accounts maintained at
BONY based on the investment program in which a particular customer elected to
participate. The Segregated Accounts were referred to as "SEG 1," "SEG 2," "SEG 3,"
and "SEG 4."

Sentinel represented to its customers that investments in the SEG 1
Segregated Account would contain only funds and property of customers of registered
commodity brokers and FCMs. While BONY disagrees, the Plan Proponents assert that
Sentinel was subject to the CEA and the rules and regulations promulgated thereunder by
the CFTC, including the strict investment standards embodied in CFTC Rule 1.25, 17
C.F.R. § 1.25, which enumerates the permitted investments for customer funds under the
CEA.

Sentinel also represented that investments in the SEG 2 Segregated
Account were limited to the funds and property of FCM customers that were engaged in
trading on foreign exchanges. Pursuant to the Investment Agreements, Sentinel agreed to
invest funds deposited in SEG 2 in accordance with CFTC Rule 30.7, 17 C.F.R. § 30.7,
which imposes restrictions on the investment of customer funds similar to those in CFTC
Rule 1.25.

Sentinel represented to its customers that investments in the SEG 3
Segregated Account would contain assets of all other types of customers, including hedge
funds, house funds of FCMs, trust accounts, endowments and individuals. Certain
investors participating in SEG 3 elected that their funds be invested in accordance with
the investment standards of CFTC Rule 1.25. Approximately 75% of Customers (by

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dollar amount) participating in SEG 3 elected to invest their funds in accordance with the
investment standards of CFTC Rule 1.25.

Finally, Sentinel represented that it maintained the SEG 4 Segregated
Account on behalf of customers whose property was denominated in Euros.

Sentinel also owned a "House" or "Street" portfolio of securities traded by
Sentinel for the ultimate benefit of certain Sentinel insiders (the "House Account").

In the Investment Agreements between Sentinel and its Customers, among
other places, Sentinel represented to its Customers that all funds deposited by both its
FCM Customers and its other Customers would be kept in separate, segregated accounts
in strict accordance with the rules and regulations of the CFTC and the SEC, and that
such Customer funds would be protected from commingling with funds of Sentinel, other
Customers of Sentinel, or other creditors.

Customers were unaware, as discovered after the commencement of the
Chapter 11 Case, that instead of strictly segregating Customer funds and property, certain
Sentinel insiders misused Customer funds for improper and unlawful purposes. As a
result of the forensic examination undertaken by the Chapter 11 Trustee and his
professionals of Sentinel’s activities, books, and records, the Plan Proponents believe that
beginning no later than 2004, virtually all Customer funds were misused and diverted
from the very first day they were deposited by Customers with Sentinel. When
Customers deposited funds with Sentinel, the Chapter 11 Trustee believes, based upon
forensic work completed by him and his retained professionals, that instead of
segregating those funds and/or purchasing securities segregated for the benefit of a
particular SEG, certain Sentinel insiders caused substantially all Customer deposits to be
swept to an unsegregated loan and clearing account at BONY, where they were used to
reduce and applied against Sentinel's obligations to BONY (the "BONY Loan").
Although those insiders then would purport to allocate interests in securities to specific
customer SEGs and accounts, and would cause daily statements to be generated reporting
ownership of an interest in those securities to Customers, as a result of the forensic
examination undertaken by the Chapter 11 Trustee and his professionals, the Plan
Proponents believe that in reality the securities were allocated to Customers without
regard to whether the Securities actually were segregated for the benefit of the
Customers, and oftentimes the securities already had been pledged to BONY as collateral
for the BONY Loan. Moreover, as a result of the forensic examination undertaken by the
Chapter 11 Trustee and his professionals, the Plan Proponents believe that both the cost
basis and interest rates relating to securities reported on Customer statements were
frequently fictitious. The Chapter 11 Trustee asserts that, based upon forensic work
completed by him and his retained professionals, interest from all Customer and House
securities (segregated or not, repo'd or owned) was pooled and then applied first to pay
interest on the BONY Loan, then to pay certain fees, and then to meet arbitrarily
determined "return" targets for each customer group. Thus, as a result of the forensic
examination undertaken by the Chapter 11 Trustee and his professionals, the Plan
Proponents believe that each and every day, certain Sentinel insiders used the returns on

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securities in one SEG group to subsidize income allocations made to other SEG groups or
to the House and/or to pay interest on the BONY Loan.

Based upon forensic work completed by him and his retained
professionals, the Chapter 11 Trustee asserts that, prior to the Petition Date, Sentinel's
Customers and the regulatory authorities were unaware of the pooling, commingling, and
misuse of funds and securities that were supposed to be segregated for the benefit of
Customers because the Customer Account Statements and regulatory filings reported that
Customer assets were segregated in accordance with Sentinel's initial representations to
its customers. The activities of certain insiders, as well as the role of BONY as custodian
for the Segregated Accounts and McGladrey & Pullen LLP as auditors, are the subject of
various lawsuits initiated by the Chapter 11 Trustee as described in more detail in
Section V.I.

The Trustee has not provided Customers access to all of the forensic work
undertaken by the Trustee and his retained professionals. A group of Citadel-Beneficiary
Customers dispute the Chapter 11 Trustee's conclusions about the extent of the pooling,
commingling, misuse, and diversion of property held by Sentinel in segregation for
SEG 1 Customers and dispute that any pooling, commingling, misuse, or diversion
defeats their ownership of the Citadel Sale Distributions, the SEG 1 Special Distributions,
and property still held in segregated SEG 1 accounts by the Chapter 11 Trustee.

Cc. Events Leading to Chapter 11 Filing

Beginning in 2003, certain Sentinel insiders began purchasing large
volumes of securities that were not segregated for customers and that did not appear on
customers statements. Typically, these transactions involved the purchase of securities
either using the BONY Loan or the funds received from a repurchase or "repo"
counterparty.

In its repo transactions, Sentinel typically would deliver the security to its
counterparty, who would in turn "loan" a percentage of the value of the security to
Sentinel. As part of the agreement, Sentinel was obligated to repurchase the security for
the amount it received plus interest. The percentage of the security's value that the repo
counterparty would not finance is referred to as the repo "haircut." Sentinel used the
BONY Loan to cover the amount of the repo "haircut." As the BONY Loan grew, certain
Sentinel insiders began collateralizing it with securities that the Plan Proponents assert
were supposed to be segregated for Sentinel's SEG customers.

As of December 31, 2006, certain Sentinel insiders had caused Sentinel to
obtain control of over $2 billion of securities in this manner — i.e., with none of its own
equity. In addition to the over $2 billion in repurchase obligations to repo counterparties,
the BONY Loan had also grown to over $230 million as of December 31, 2006.

During this time, Sentinel only had a few million dollars in net capital, and

in actuality appears to have had a net capital deficiency as a result of the conduct of
certain insiders. The combined growth of the BONY Loan and Sentinel's large repo

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positions, in conjunction with the segregation failures and net capital deficiencies, created
a material risk of huge losses — risks that ultimately came to fruition and led to Sentinel's
demise.

In mid-2007, many of Sentinel's counterparties under the repo agreements
began making margin calls and/or terminating the repo agreements. For example, in May
2007, Fimat, one of Sentinel's major repo counterparties, closed out a number of repo
transactions and returned more than $100 million (face value) in securities to Sentinel. In
response, to avoid defaulting on the repo agreements and because Sentinel could not meet
its repo obligations in any other way, certain Sentinel insiders caused Sentinel to borrow
an additional $94 million from BONY, increasing the BONY Loan balance to more than
$353 million.

To secure the increased BONY Loan, the Plan Proponents believe that
Sentinel insiders and BONY moved large blocks of government securities from both
SEG | and SEG 3 with a face value of almost $87 million into the BONY collateral
account.

Throughout June and July 2007, more repo counterparties refused to roll
forward repo transactions and either returned securities to Sentinel that were the subject
of repo agreements, or increased the applicable repo "haircuts." As a result, Sentinel
continued borrowing money from BONY to meet its repo obligations, and the
outstanding loan balance ballooned at times to in excess of $500 million. To collateralize
the additional loan amounts, the Plan Proponents believe that the Sentinel insiders and
BONY continued to transfer securities from the various SEG accounts to the BONY
collateral account.

Sentinel's severe financial stress continued through the end of July and
into August as it was unable to simultaneously reduce its loan balance with BONY, sell
the higher-risk securities that had been returned by repo counterparties, and meet its
redemption obligations to Customers who wanted to withdraw funds.

In the end, Sentinel's liabilities to BONY, repo counterparties, and
Customers, coupled with its thin capital and the fact that many of the securities that had
been returned by repo counterparties were highly illiquid, led to Sentinel's demise.

D. Sentinel's Collapse

On August 13, 2007, (Eric Bloom, the President and Chief Executive
Officer of Sentinel) sent a letter to Sentinel's Customers representing that because of the
pending liquidity crisis in the credit markets, Sentinel was halting redemptions out of a
concem that it would not be able to meet significant redemption requests without
resorting to discount sales that would cause unnecessary losses to its Customers. This
resulted in immediate demands for redemption by numerous Customers, as well as the
declaration of defaults and close out at unfavorable prices of more than $2 billion in repo
transactions.

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As a result of the forensic examination undertaken by the Chapter 11
Trustee and his professionals, the Plan Proponents believe that on or about the same date,
certain Sentinel insiders caused the entire cash balance maintained in the SEG 3 cash
account, roughly $112 million, to be transferred to a SEG 1 cash account. The
Chapter 11 Trustee's investigation has revealed to the Plan Proponents that roughly
$90 million of that amount was used on August 15, 2007 to redeem and pay off in full
four SEG 1 Customer accounts. The Chapter 11 Trustee's investigation has revealed to
the Plan Proponents that the other $22 million was used to effectuate the SEG 1 Special
Distribution (described below).

On August 16, 2007, on the eve of the Petition Date, Sentinel entered into
an agreement with Citadel to sell, assign and transfer assets purportedly held for the
benefit of the SEG 1 Customers (the "Citadel Transaction"). The aggregate notional
value of the securities to be sold was approximately $384 million with an estimated
market value of $367 million, including accrued interest (the "Citadel Securities"). From
this, Citadel deducted a discount of $47.1 million (under the agreement, Citadel was only
supposed to deduct $44.9 million), and the final sales price paid to Sentinel was
approximately $320.5 million (the "Citadel Proceeds"). The Citadel Securities were
transferred to Citadel on August 16 and 17, 2008. Approximately $302 million of the
Citadel Proceeds were transferred to the SEG 1 account maintained at BONY.
$16.2 million in proceeds were transferred to a Euroclear account, which BONY asserts
is not an account segregated for the benefit of Customers, where those funds remain. The
balance attributable to the Citadel Securities sale (roughly $1.2 million in accrued interest
attributable to the securities) was not transferred to a SEG account, and instead was used
to reduce the BONY Loan balance.

On August 17, 2007, Sentinel effectuated a Cash distribution in the
aggregate amount of $22,524,942 to the Citadel-Beneficiary Customers (the "SEG 1
Special Distribution"), which was represented to Customers to be an initial distribution of
Citadel Proceeds. According to the Chapter 11 Trustee's investigation, however, it
appears that this $22.5 million transfer was a transfer of the balance of the proceeds of
the bulk transfer of $112 million from the SEG 3 account to the SEG 1 account on
August 14, 2007, as described above.

On August 16 and 17, 2007, several Customers sued Sentinel and sought
and obtained temporary restraining orders from the District Court of the Northern District
of Illinois, Farr Financial, Inc. v. Sentinel Management Group, Inc., Case No. 07 C 4614
(N.D. Ill. Aug. 17, 2007), prohibiting transfers or securities purportedly segregated for
their benefit. On the afternoon of August 17, the NFA issued a Member Responsibility
Action prohibiting Sentinel from selling, transferring, encumbering or otherwise
disposing of any SEG 3 or House securities. That evening, Sentinel filed for bankruptcy
protection.

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V.
THE CHAPTER 11 CASE

On August 17, 2007 (the "Petition Date"), the Debtor filed a voluntary
petition for relief under Chapter 11 of the Bankruptcy Code.

A. Significant "First Day" Motions During the Chapter 11 Case

During the first few days of the Chapter 11 Case, the Debtor filed
emergency motions to address its immediate operating needs and concerns about liquidity
in the commodities markets. The Bankruptcy Court subsequently granted such relief by
the entry of orders, as more fully described below.

1. The Citadel Distribution

On August 20, 2007, the first business day after the Petition Date, the
Debtor filed an emergency motion (the "Distribution Motion") to compel the distribution
of the Citadel Proceeds to the Citadel-Beneficiary Customers. A hearing on the
Distribution Motion was held that same day (the "Distribution Hearing"). By the
Distribution Motion, the Debtor sought an order requiring BONY to turnover the Citadel
Proceeds and distribute such proceeds to the Citadel-Beneficiary Customers. The
Bankruptcy Court entered an order dated August 20, 2007 in connection with the
effectuation of the Citadel Distribution (less a $15.6 million holdback amount pending
further order of the Bankruptcy Court) to the Citadel-Beneficiary Customers. There is
dispute among Creditors concerning the intent and effect of the Bankruptcy Court's
August 20, 2007 order and certain Creditors take the position that the Bankruptcy Court
in fact “authorized” the distribution to the Citadel-Beneficiary Customers. On or about
August 21, 2007, pursuant to the August 20, 2007 order, BONY distributed roughly
$297 million in Citadel Proceeds (the "Citadel Distribution") to the Citadel-Beneficiary
Customers.

Also on August 20, 2007, Judge Kennelly of the United States District
Court for the Northern District of Illinois held a hearing related to the distribution of the
Citadel Proceeds to the Citadel-Beneficiary Customers. The parties were before
Judge Kennelly on the SEC’s Complaint against Sentinel and related motion for
emergency relief (the “Emergency Motion”) seeking (a) to restrain Sentinel from
engaging in any transactions that violate Federal securities laws, (b) for an accounting of
all funds received by Sentinel from its clients, (c) to prohibit the destruction of
documents by Sentinel, and (d) an order expediting discovery.

With respect to (a) above, the SEC sought an order precluding Sentinel
from distributing (through BONY) the Citadel Proceeds to the Citadel-Beneficiary
Customers. After considering arguments and the evidence submitted, the District Court
refused to prohibit the distribution of the Citadel Proceeds to the Citadel-Beneficiary
Customers. The District Court, however, did enter an emergency order granting the
Emergency Motion with respect to (b), (c) and (d) outlined above.

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2. The Chapter 11 Trustee

On August 21, 2007, the Debtor filed an emergency motion to appoint a
Chapter 11 trustee in the Chapter 11 Case after the SEC initiated litigation against the
Debtor as described in Section V.J. below. On August 23, 2007, the Bankruptcy Court
ordered the appointment of a Chapter 11 trustee. Shortly thereafter, on August 29, 2007,
Frederick J. Grede was appointed as the Chapter 11 Trustee for the Estate by the United
States Trustee and the appointment was approved by the Bankruptcy Court.

In the weeks following his appointment, the Chapter 11 Trustee filed
various motions seeking orders from the Bankruptcy Court to authorize his retention of
professionals, including Jenner & Block LLP as counsel, Navigant Consulting, Inc. as
financial advisor and forensic accountants, and Macquarie Securities (USA) Inc. as
investment advisor.

B. Official Committee of Unsecured Creditors

On September 6, 2007, the United States Trustee appointed an Official
Committee of Unsecured Creditors (the "Creditors Committee") in the Chapter 11 Case.

The Creditors Committee is currently comprised of BC Capital Fund A,
LLC, Discus Master Ltd., JEM Commodity Relative Value Fund LP, Jump Trading,
LLC, Rotchford Barker, Kottke Associates LLC, Penson GHCO, and Vision Financial
Markets LLC. The Creditors Committee is represented by the law firms of Quinn
Emanuel Urquhart Oliver & Hedges, LLP and DLA Piper US LLP pursuant to orders of
the Bankruptcy Court. BC Capital Fund A, LLC, Discus Master Ltd., JEM Commodity
Relative Value Fund LP, Jump Trading, LLC, and Rotchford Barker are all Customers
who participated in SEG 3 while Kottke Associates LLC, Penson GHCO, and Vision
Financial Markets LLC are all Customers who participated primarily in SEG 1.

Cc. Schedules and Statement of Financial Affairs

On September 14, 2007, the Debtor filed its schedules of assets and
liabilities and statement of financial affairs; certain amendments were subsequently filed.

D. Bar Date for Filing Proofs of Claim

On December 27, 2007, the Chapter 11 Trustee filed a motion seeking
entry of an order (the "Bar Date Order") from the Bankruptcy Court requiring any person
or entity holding or asserting a Claim against the Debtor to file a written proof of claim
with the Bankruptcy Court on or before March 14, 2008. On January 7, 2008, the
Bankruptcy Court entered the Bar Date Order and established March 14, 2008 as the Bar
Date for all Claims, including Claims asserted by governmental units. Under the Bar
Date Order, Persons or Entities whose Claims arise out of the rejection of an executory
contract or unexpired lease will file a proof of claim on or before the later of (a) the date
set by the Court in the Order authorizing the rejection of such contract or lease; or (b) the
general Bar Date.

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E. Turnover of Customer Property

On October 16, 2007, the Chapter 11 Trustee filed a motion with the
Bankruptcy Court to approve a stipulation between the Chapter 11 Trustee and BONY
pursuant to which BONY agreed to turn over to the Chapter 11 Trustee certain cash and
securities held by BONY in the Segregated Accounts for the benefit of Sentinel's
Customers, or proceeds thereof, in which BONY did not assert any claim or lien. On
October 18, 2007, the Bankruptcy Court entered an order approving this stipulation (the
"Turnover Order"). Pursuant to the Turnover Order, BONY has transferred the property
contained in the Segregated Accounts to restricted accounts (the "JPM Accounts")
opened by the Chapter 11 Trustee at JPMorgan Chase Bank, N.A. Certain other
securities continue to be held in accounts at BONY (the "BONY Accounts") over which
BONY asserts a continuing lien and security interest to secure the BONY Loans.

F. Liquidation of Securities Portfolio

On December 10, 2007, the Chapter 11 Trustee filed a motion with the
Bankruptcy Court to approve a stipulation entered into by the Chapter 11 Trustee, the
Creditors Committee, and BONY. The stipulation authorized the Chapter 11 Trustee to
liquidate the securities contained in both the JPM Accounts and the BONY Accounts,
with the assistance of the Chapter 11 Trustee's investment advisor, Macquarie Securities
(USA) Inc., in order to fix the value of the Estate and minimize the effect of further
market turbulence by way of an orderly liquidation process. On December 13, 2007, the
Bankruptcy Court entered an order approving this stipulation.

Subsequently, on February 25, 2008, the Creditors Committee filed a
motion seeking court approval of the retention of Vincent Butkiewicz as their financial
consultant to assist in the liquidation of the Estate's securities. The Court entered an
order on March 6, 2008, approving Mr. Butkiewicz's retention.

As of May 31, 2008, the Chapter 11 Trustee had liquidated a substantial
portion of the securities portfolio, and had realized approximately $415 million from that
liquidation, a material portion of which is held at BONY subject to its purported liens.
Securities with a face value exceeding $300 million remain to be liquidated. The
Chapter 11 Trustee believes that the aggregate market value of these remaining securities
is difficult to determine at this time and that such securities could be sold for substantially
less than the face value of the securities.

G. Claims Analysis
Since his appointment, the Chapter 11 Trustee has engaged in a review
and analysis of the Claims to reconcile the amount of outstanding Claims, and identify

existing or potential claim disputes. However, because the Bar Date has only recently
passed, the claims analysis process is in its preliminary stages.

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H. Causes of Action and Avoidance Claims

The Chapter 11 Trustee and the Creditors Committee are investigating
whether any meritorious Causes of Action exist for the recovery of preferential or
fraudulent transfers or other actions commenced pursuant to the avoiding powers of the
Bankruptcy Code, including Sections 544 through 551 of the Bankruptcy Code
(collectively, the "Avoidance Actions"). The potential Avoidance Actions being
investigated by the Chapter 11 Trustee include, but are not limited to, potential claims
against certain customers who received partial or full redemptions of their accounts prior
to the Petition Date. The investigation regarding the Avoidance Actions is ongoing, and
the fact that a complaint or demand has not yet been made with respect to any particular
transfer or transaction is not and must not be deemed to be any admission, concession, or
other evidence that a meritorious cause of action does not exist.

As is to be expected with all litigation, any attempt by the Chapter 11
Trustee or the Estate to file Avoidance Actions against Citadel-Beneficiary Customers
who choose to not become Electing Holders would likely be met by significant defenses.
Among other things, the Citadel-Beneficiary Customers would likely argue that (a) the
Citadel Sale Distributions and the SEG 1 Special Distributions were not transfers of
property of the Estate and, therefore, are not avoidable by the Chapter 11 Trustee; and (b)
the Citadel Sale Distributions are not recoverable under section 549 of the Bankruptcy
Code because they were “authorized” by the Bankruptcy Court and Judge Kennelly.
With respect to other Avoidance Actions concerning transfers made prior to the “no
redemption” letter issued on August 13, 2007, recipients of such potentially preferential
transfers would likely assert “ordinary course of business” defenses under section
547(c)(2) of the Bankruptcy Code.

In addition, the Chapter 11 Trustee is investigating additional potential
claims and causes of action that may be brought on behalf of the Debtor's estate. The
potential claims and causes being investigated by the Chapter 11 Trustee include, but are
not limited to: (i) potential claims against Citadel relating to the purchase price paid by
Citadel for the Citadel Securities, which the Chapter 11 Trustee believes to have been
inadequate; (ii) potential claims against certain repo counterparties arising from the
manner in which repo securities were liquidated and the proceeds used to satisfy the
Debtor's obligations under repo agreements; and (iii) potential claims against sellers of
securities to Sentinel. The Chapter 11 Trustee's investigation regarding potential claims
and causes of action is ongoing, and the fact that a complaint or demand has not yet been
made with respect to any particular transfer or transaction, or the fact that a potential
claim is not listed in the preceding sentence, is not and must not be deemed to be any
admission, concession, or other evidence that a meritorious cause of action does not exist.

In the event the proposed Plan is confirmed, on the Plan's Effective Date,
the Liquidation Trustee, in consultation with the Liquidation Trust Committee, will take
over the investigation and prosecution of any litigation. As provided for in the Plan, the
Liquidation Trustee may consider a Claim held by any recipient of such preferential or
fraudulent transfer Disputed, in his sole discretion, prior to the expiration of the deadline

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to object to, or seek subordination of, such Claim or Equity Interest under the Plan, unless
otherwise ordered by the Court.

I. Adversary Proceedings

1. Insider Complaint (Grede vy. Bloom, Adv. Pro. 07-00981
(Bankr. N.D. Il. Oct. 11, 2007))

On October 11, 2007, the Chapter 11 Trustee filed a complaint (the
"Insider Complaint") in the Bankruptcy Court, commencing an adversary proceeding
against Philip Bloom, the Chairman of the Board of Directors of Sentinel; Eric Bloom, .
the President and Chief Executive Officer of Sentinel, a director, and shareholder; and
Charles Mosley, a director of Sentinel, its Senior Vice President, and head trader
(collectively, the "Defendant Insiders") and related companies, trusts and investment
vehicles under their control which the Chapter 11 Trustee asserts they used to funnel
away profits unlawfully from Sentinel. The Insider Complaint alleges that the Defendant
Insiders engaged in extensive breaches of fiduciary duty and wrongdoing against Sentinel
and its Customers. As set forth in the Insider Complaint, despite representations that
Sentinel would invest client property in securities of a low-risk, highly-liquid nature,
observing requirements that client funds be segregated from any non-client funds or
between other segregated customer portfolios, the Defendant Insiders utilized a risky
leveraged trading strategy and commingled and misused client funds for their own
financial gain, employing a pattern of deception and lies.

On October 25, 2007, the Bankruptcy Court entered an order granting the
Chapter 11 Trustee's motion for preliminary injunction restraining the disposition of
certain assets held by or for the benefit of the Defendant Insiders pending the litigation of
the claims against the Defendant Insiders. The Defendant Insiders filed motions to
dismiss the Insider Complaint, and the Chapter 11 Trustee filed a response. On February
28, 2008 the Bankruptcy Court entered orders denying the motions, granting leave to the
Defendant Insiders to answer the Insider Complaint by March 31, 2008. Pursuant to
subsequent order of the Bankruptcy Court, the deadline by which the Defendant Insiders
must answer the Insider Complaint was further extended.

On June 9, 2008, the Bankruptcy Court approved a settlement (the
Settlement”) by and among the Chapter 11 Trustee and Philip M. Bloom, the Philip M.
Bloom Revocable Trust, the Sybil Bloom Revocable Trust, the Philip Bloom Remainder
Trust, the Philip M. Bloom Grantor Annuity Trust, Eric A. Bloom, Sentinel Investment
Group, Inc., Sentinel Financial Services, Inc., Sentinel Management International, Ltd.,
Fountainhead Investments, Inc., EB Trust 2005 and Eric A. Bloom Living Trust (the
“Settling Defendant Insiders”). Under the Settlement, the Settling Defendant Insiders are
to pay to the Estate essentially all of their assets, other than assets which they assert are
exempt under applicable state or federal law, and the Trustee has agreed to settle all
claims between the Debtor’s estate and the Settling Defendant Insiders. Under the
Settlement, the Settling Defendant Insiders would (a) pay to the Trustee Ten Million
Seven Hundred Thousand Dollars ($10,700,000.00) (the “Settlement Payment”),
inclusive of amounts held in escrow pursuant to order of the Court; (b) stipulate to the

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disallowance of any claims filed by the Settling Defendant Insiders against the Estate; (c)
agree not to challenge bankruptcy proceedings by or against Sentinel Investment Group
(“SIG”), the Debtor’s parent company, and waive all claims or rights to any tax refund
due to SIG; and (d) release all of their claims against the Debtor, its estate and the
Trustee. In exchange, under the Settlement the Trustee would release on behalf of
himself and the Debtor’s estate all claims against Philip M. Bloom, the Philip M. Bloom
Revocable Trust, the Sybil Bloom Revocable Trust, the Philip Bloom Remainder Trust,
the Philip M. Bloom Grantor Annuity Trust, Eric A. Bloom, Fountainhead Investments,
Inc., EB Trust 2005, Sentinel Financial Services, Inc. and Eric A. Bloom Living Trust, as
well as any claims against Sybil Bloom (Philip M. Bloom’s spouse) (the “Estate
Releasees”). In addition, as a condition precedent to settlement, the Trustee has obtained
a contribution bar order permanently barring, enjoining, and restraining third parties from
commencing, prosecuting, or asserting any request, claim, or cause of action for or
otherwise seeking contribution or common law indemnification, however denominated,
against any of the Estate Releasees based upon, relating to, or arising out of (i) any claims
asserted or judgments obtained against the third parties by the Trustee or the estate, or
amounts actually paid by the third Parties to the Trustee or the estate based on such
claims or judgments, whether by settlement or otherwise, and/or (ii) the costs of
defending against claims, causes of action, demands, or requests asserted or made by the
Trustee; the contribution bar order provides for a pro tanto reduction, by the amount of
the Settlement Payment, of any monetary award or judgment obtained by the Trustee
from or against any third party for the same injuries alleged in the Insider Complaint, for
which contribution or common law indemnification is available from the Settling
Defendant Insiders. The Trustee also has obtained a court order permanently barring,
enjoining, and restraining all Creditors of the estate from commencing, prosecuting, or
asserting any estate claims released by the Trustee, and has agreed to take certain actions
with respect to any pending or future lawsuits asserting claims against the Estate
Releasees.

The Settlement does not apply to Defendant Insider Charles Mosley, and
the date by which he must answer the Insider Complaint has been extended until June 16,
2008.

2. BONY Adversary Proceedings

On March 3, 2008, the Chapter 11 Trustee filed a complaint (the "BONY
Complaint"), Grede v. The Bank of New York, Adv. Pro. 08-00127 (Bankr. N.D. Ill.
March 3, 2008), in the Bankruptcy Court, alleging that BONY engaged in misconduct in
each of its three roles in relation to Sentinel that led to the collapse of Sentinel's business:
custodian of securities on behalf of Sentinel and its Customers, clearing agent for
Sentinel's securities transactions, and lender to Sentinel. Specifically, the BONY
Complaint alleges that (i) BONY established a fundamentally flawed account structure
for Sentinel's accounts which commingled Customer assets that should have been
segregated and pledged Customer assets as security for BONY's loan to Sentinel in
violation of its obligations under federal law and its duties to Sentinel; (ii) BONY aided
and abetted breaches of fiduciary duty committed by certain Defendant Insiders;
(iii) BONY knowingly accepted fraudulent and preferential transfers as part of the

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Defendant Insiders’ scheme; and (iv) BONY engaged in inequitable conduct. BONY
filed a motion extending its time to respond to the BONY Complaint.

Three days prior to the Chapter 11 Trustee's filing of the BONY
Complaint, on February 28, 2008, BONY filed a complaint (the "Declaratory Judgment
Complaint"), The Bank of New York v. Grede, Adv. Pro. 08-00119 (Bankr. N.D. Iil.
February 28, 2008), against the Chapter 11 Trustee seeking a declaratory judgment that
BONY has a valid, first-priority, perfected security interest in and lien upon the cash and
securities held in certain accounts established and maintained for Sentinel by BONY,
which secure loans and other extensions of credit to Sentinel by BONY. On March 14,
2008 the Chapter 11 Trustee filed a motion to dismiss the Declaratory Judgment
Complaint, asserting that BONY had filed the Declaratory Judgment Complaint as an
anticipatory suit that served no legitimate purpose as the BONY Complaint is a
substantive suit that encompasses all of the issues in dispute between the parties. On
April 22, 2008, the Bankruptcy Court, after holding a hearing on the matter, entered an
order dismissing the Declaratory Judgment Complaint.

On May 2, 2008, BONY filed (i) a motion to dismiss the BONY
Complaint and (ii) a motion to withdraw the reference. The Chapter 11 Trustee's
response to BONY's motion to dismiss was filed on May 23, 2008 and BONY’s reply
was filed on June 6, 2008.

BONY’s motion to dismiss sought dismissal of the BONY Complaint
based on, among other things, the CEA’s and CFTC rules’ alleged inapplicability to
Sentinel and BONY, the CEA’s and the Investment Adviser Act’s lack of private rights
of action, BONY’s assertion that BONY’s conduct was not the cause of Sentinel’s
customers’ losses, the protections that Article 8 of the Uniform Commercial Code BONY
asserts it is afforded, and BONY’s position that the Chapter 11 Trustee is barred from
asserting an aiding and abetting claim against a third-party in instances where the alleged
conduct was done with the cooperation of certain of Sentinel’s management. In addition,
BONY asserts that each of the Chapter 11 Trustee’s claims should be dismissed for
failure to state a claim upon which relief may be granted. On June 10, 2008, the
Bankruptcy Court denied BONY’s motion to dismiss the BONY Complaint.

BONY's motion to withdraw the reference has been assigned to the
Honorable James B. Zagel, and no briefing schedule on that motion has been set by the

Court or agreed to by the parties. The Chapter 11 Trustee opposes withdrawal of the
reference.

On May 16, 2008, the Chapter 11 Trustee filed a motion to have this case
reassigned from Judge Zagel to Judge Kocoras, before whom the SEC action against
Sentinel (See Section J. below) is pending. On May 28, 2008, Judge Kocoras denied the
motion to reassign without prejudice, pending Judge Zagel’s ruling on BONY’s motion
to withdraw the reference.

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The Chapter 11 Trustee is claiming damages in excess of $500 million in
the BONY Complaint. The pending BONY adversary proceeding is in its initial stages
and the ultimate relief and recovery, if any, for the Estate is unknown at the present time.

3. M&P Complaint (Grede v. McGladrey & Pullen LLP, Adv. Pro.
08-00167 (Bankr. N.D. Tl. March 20, 2008))

On March 20, 2008, the Chapter 11 Trustee filed a complaint (the "M&P
Complaint") in the Bankruptcy Court, commencing an adversary proceeding against
McGladrey & Pullen LLP ("M&P") and G. Victor Johnson, one of M&P's partners.
M&P or its predecessors served as Sentinel's independent auditors for several years, and
audited Sentinel's financial statements for the year ended December 31, 2006 (the "2006
Audit").

The M&P Complaint alleges that M&P's 2006 Audit failed to satisfy the
most basic standards of accounting and auditing, ignored blatant violations of federal law
being committed by the Defendant Insiders, and failed to fulfill its legal duty to report
such violations to Sentinel's regulators. In addition, the M&P Complaint alleges that
M&P issued an unqualified audit opinion that Sentinel's financial statements fairly
presented its financial condition, when it knew that those statements materially misstated
the facts and obfuscated violations of federal regulations critical to the protection of
Sentinel's investors. The M&P Complaint also alleges that M&P and Johnson aided and
abetted breaches of fiduciary duty committed by certain Defendant Insiders.

On April 16, 2008, M&P and Johnson filed a motion to withdraw the
reference to the Bankruptcy Court, seeking to have the case adjudicated by the District
Court for the Northern District of Illinois. The motion to withdraw the reference was
assigned to the Honorable James B. Zagel. The Chapter 11 Trustee filed his response to
M&P and Johnson's motion to withdraw the reference on May 29, 2008. Judge Zagel has
set a hearing on that motion for July 23, 2008. The Chapter 11 Trustee opposes
withdrawal of the reference at this time.

In order to promote judicial economy and preserve the resources of the
estate, the Chapter 11 Trustee has moved to have this case reassigned from Judge Zagel
to Judge Kocoras, before whom the SEC action against Sentinel (See Section J. below) is
pending. The CFTC has also filed a complaint against Sentinel, Eric Bloom, and Charles
Mosley (See Section J. below), and has moved to have its case reassigned to
Judge Kocoras as well. Briefing on the Chapter 11 Trustee's and CFTC's motions for
reassignment to Judge Kocoras is complete.

On May 21, 2008, M&P and Johnson filed a motion to dismiss or in the
alternative to strike allegations from the M&P Complaint. The Chapter 11 Trustee’s
response to M&P and Johnson’s motion to dismiss or in the alternative to strike is due on
June 25, 2008. The Bankruptcy Court is to hold a status hearing in this case on
August 12, 2008.

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The Chapter 11 Trustee is claiming damages in excess of $500 million in
the M&P Complaint. The adversary proceeding against M&P and Johnson is in its initial
stages, and the ultimate relief and recovery, if any, for the Estate is unknown at the
present time.

4. SEG 1 Complaint (FC Stone LLC, et al. v. Grede, Adv. Pro.
08-00445 (Bankr. N.D. Ill. June 9, 2008))

On June 9, 2008, certain SEG 1 Customers filed an adversary complaint
(the "SEG 1 Complaint") against the Chapter 11 Trustee related to the “property of the
estate issue,” seeking a declaration that any and all transfers made by the Debtor to the
Plaintiffs on or after the date that was 90 days before the Petition Date (including the
Citadel Sale Distributions and the SEG 1 Special Distributions) were transfers of the
Plaintiffs’ property and not transfers of property of the Debtor’s estate under Section 541
of the Bankruptcy Code. The complaint also seeks a declaration that at least $40 million
in securities and other assets held by the Chapter 11 Trustee in accounts denominated as
SEG 1 is not property of the Estate under Section 541 of the Bankruptcy Code and should
be returned to the SEG 1 Customers.

Specifically, the SEG 1 Complaint alleges that Sentinel was statutorily and
contractually prevented from having any interest in the assets of its SEG 1 Customers
and, as such, those assets are not property of Sentinal’s Estate under Section 541 of the
Bankruptcy Code. The SEG 1 Complaint also alleges that the SEG 1 Customers can
adequately identify and trace such assets held by Sentinel and that such assets are held in
trust by Sentinel for the SEG 1 Customers. It is the position of these SEG 1 Customers
that the available evidence suggests that all or substantially all of the securities of the
SEG 1 Customers can be traced, by CUSIP number, in the hands of Sentinel on all
relevant dates, such that even if the Debtor engaged in commingling, as the Chapter 11
Trustee has alleged, such commingling would not prevent tracing of the SEG 1
Customers’ assets, and such assets are not property of the Debtor’s estate.

The Plan Proponents disagree with the positions taken by such SEG 1
Customers.

J. Other Related Litigation

In addition to adversary proceedings filed in connection with the
Chapter 11 Case, there are several other pending lawsuits involving the Debtor's business
and the Defendant Insiders, which include:

1. Class Action Complaints

On September 10, 2007, Henry Shatkin, a Customer of Sentinel, filed a
complaint (the "Class Action Complaint"), Shatkin v. Bloom, Case No. 07CV5076 (N.D.
Ill. Sept. 10, 2007), in the District Court for the Northern District of Illinois on behalf of
all Customers of Sentinel who had assets managed by Sentinel (the "Class"), against the
Defendant Insiders and certain other officers of Sentinel alleging misconduct causing
hundreds of millions of dollars of assets belonging to the Class to be missing. On

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February 27, 2008, pursuant to an order of the District Court, the parties to the Class
Action Complaint filed a joint discovery schedule stating that given the discovery stay in
place due to the Chapter 11 Case, and pending factors whereby the plaintiff might obtain
relief from the stay, the parties agreed that the plaintiff may serve document discovery
requests on the defendants beginning on May 1, 2008 and the parties believe that
depositions should commence on December 1, 2008. On May 8, 2008, the Chapter 11
Trustee filed a Complaint for Injunctive Relief and a Motion for Preliminary Injunction,
seeking to preliminarily enjoin the Class from prosecuting the Class Action Complaint
until confirmation of a plan of liquidation for the Debtor. On May 29, 2008, this Court
held an evidentiary hearing on the Motion, and on June 10, 2008 entered an Amended
Consent Order and Injunction granting the relief sought in the motion.

Similarly, on September 10, 2007, Henry Shatkin filed a complaint (the
"Class Action BONY Complaint"), Shatkin v. The Bank of New York, Case
No. 07CV7928 (S.D.N.Y. Sept. 10, 2007), in the District Court for the Southern District
of New York on behalf of the Class, commencing an adversary proceeding against
BONY in its capacity as custodian of the Class's assets alleging misconduct with respect
to safeguarding of the assets, causing hundreds of millions of dollars of assets belonging
to the Class to be missing. BONY informed the District Court at a pre-motion conference
that it would file a motion to dismiss the Class Action BONY Complaint. On January 29,
2008, the District Court set a briefing schedule for BONY's motion to dismiss, whereby
briefing would be complete by April 14, 2008, and ordered that all discovery is stayed
pending the outcome of the motion(s). On February 29, 2008, BONY filed its motion to
dismiss, or alternatively to stay, the Class Action BONY Complaint. The District Court
has not yet ruled on BONY's motion and oral argument is scheduled for June 17, 2008.

2. SEC Complaint (SEC v. Sentinel Management Group, Inc.,
Case No. 07CV4684 (N.D. Ill. Aug. 20, 2007))

On August 20, 2007, the SEC filed a complaint (the "SEC Complaint") in
the District Court for the Northern District of Illinois against Sentinel alleging violations
of Sections 206(1), 206(2) and 206(4) of the Investment Advisers Act and violations of
SEC Rule 206(4)-2 as a result of the "commingling and transferring [of] client funds and
securities between the various client segregated accounts and between client accounts and
a ‘house’ account" and the pledging of those assets "as collateral in order to obtain a line
of credit from the Bank of New York" as well as additional leveraged financing. That
same day, the SEC filed the Emergency Motion and the District Court entered an
emergency order granting the Emergency Motion with respect to certain relief requested
but denied the SEC’s request to prohibit the distribution of the Citadel Proceeds to the
Citadel-Beneficiary Customers.

On September 24, 2007, pursuant to an agreed order between the parties in
lieu of a hearing to show cause, the District Court entered an order superseding the
August 20, 2007 emergency order, which granted the prior relief and additionally
preliminarily enjoined Sentinel and its directors and officers from taking actions in
violation of Federal securities laws, while providing that nothing in the order constrained

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the Chapter 11 Trustee's powers in the Chapter 11 Case with respect to the assets held by
Sentinel. The next status hearing in the case is scheduled for June 17, 2008.

3. CFTC Complaint (CFTC v. Sentinel Management Group, Inc.
et al., Case No. 08CV2410 (N.D. Ill. Apr. 28, 2008))

On April 28, 2008, the CFTC filed a civil action against Sentinel, Eric
Bloom, and Charles Mosley, which is currently pending in the District Court for the
Northern District of Illinois before the Honorable Milton Shadur. In its Complaint, the
CFTC alleges that Sentinel violated: (1) Section 4b(a)(2)() of the Commodity Exchange
Act ("CEA") by "removing Seg 1 assets from segregation and misappropriating them for
use as collateral for its loan with BONY;" (2) Section 4d(a)(2) of the CEA and CFTC
Regulations 1.20, 1.22, and 1.23 by "commingling Seg 1 customer funds with those of
Sentinel and others; using those Seg 1 customer funds to secure the BONY loan of
Sentinel; failing to treat, deal with, and account for Seg 1 customer funds as belonging to
the customer; and withdrawing customer segregated funds beyond Sentinel’s actual
interest therein;" (3) Section 4d(b) of the CEA by using "Seg 1 customer funds to secure
the BONY loan of Sentinel;" and (4) Section 4g(a) and 6(c) of the CEA and CFTC
Regulation 1.10 by “filing with the Commission at least 23 Form 1-FRs that falsely
reported that Sentinel owned no securities purchased under resale agreements and had no
amounts payable" to BONY.

The CFTC alleges that with respect to each of those violations, Eric
Bloom "directly and indirectly controlled Sentinel and its employees, and did not act in
good faith or knowingly induced, directly or indirectly, the acts constituting the
violations" and that Charles Mosley willfully aided and abetted some of the violations.

In its request for relief, the CFTC seeks injunctive relief, restitution to
every customer whose funds were lost as a result of the statutory and regulatory
violations and civil monetary penalties against Bloom and Mosley equaling the higher of
triple the monetary gain to them or $130,000 for each violation.

On May 8, 2008, the CFTC filed a motion to have its case reassigned as a
related case to Judge Kocoras. Briefing on that motion is complete and the parties are
awaiting a ruling from Judge Kocoras.

On May 27, 2008, the Chapter 11 Trustee filed an agreed motion for an
extension of time to answer the CFTC’s complaint, seeking an extension until June 27,

2008 to answer or otherwise respond. The court granted the motion for extension on
May 28, 2008.

K. Sentinel’s Pension Plan

The Debtor maintained a defined benefit pension plan for certain of its
employees called the Sentinel Management Group, Inc. Defined Benefit Pension Plan
(the “Pension Plan”). The Pension Plan is covered by the plan termination insurance
program established by Title IV of the Employee Retirement Income Security Act of

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1974 (“ERISA”), as amended, 29 U.S.C. §§ 1301-1461. Title IV is administered by the
Pension Benefit Guaranty Corporation (“PBGC”), a government agency.

On April 28, 2008, the Chapter 11 Trustee filed a Motion to Terminate
Debtor’s Pension Plan and for Related Relief. Under the Bankruptcy Court’s Amended
Order Authorizing Trustee to Terminate Debtor’s Pension Plan And For Related Relief
(the “Pension Plan Order”), the Bankruptcy Court authorized the Chapter 11 Trustee to
take the necessary steps to terminate the Pension Plan in a standard termination under
section 4041(b) of ERISA, 29 U.S.C. § 1341(b). A standard termination can occur if a
pension plan has sufficient assets to cover benefit liabilities under the pension plan. The
Debtor’s actuary has advised that the Pension Plan’s assets exceed benefit liabilities by
$268,000 as of December 31, 2007. Pension Plan participants were notified of the intent
to terminate the Pension Plan on November 1, 2007, with a proposed termination date of
December 31, 2007.

In the event of a standard termination of the Pension Plan, PBGC will
timely review the determination of the Pension Plan’s enrolled actuary as to the
sufficiency of the Pension Plan, including all actuarial assumptions and calculations
relating to benefit determinations.

On February 26, 2008, PBGC filed unliquidated priority Claims for
unfunded benefit liabilities, under 29 U.S.C. § 1362(b), unpaid contributions under
29 U.S.C. § 1362(c), and unpaid premiums under 29 U.S.C. § 1307, with respect to the
Pension Plan. If the Chapter 11 Trustee or Liquidation Trustee, as applicable, completes
a standard termination of the Pension Plan in accordance with all applicable law and
regulations, PBGC will have no claims against the Debtor with respect to the termination
of the Pension Plan. The Chapter 11 Trustee or Liquidation Trustee, as applicable, and
PBGC expect to have additional discussions with regard to the timing and completion of
a standard termination and any related audit. PBGC may request that a reserve amount
for pension liabilities be retained by the Liquidation Trust pending completion of the
standard termination of the Pension Plan and any related audit.

L. Competing Plan by Certain Citadel-Beneficiary Customers

On June 3, 2008, certain Citadel-Beneficiary Customers filed a competing
plan of liquidation [Docket No. 533]. The Bankruptcy Court has not set a hearing on the
adequacy of the proposed disclosure statement related thereto [Docket No. 539]. The
Bankruptcy Court has indicated that it will not consider the competing plan until after the
hearing on confirmation of this Plan.

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VI.
SUMMARY OF THE PLAN
A. Introduction

The primary objectives of the Plan are to (a) maximize the value of the
ultimate recoveries to creditor groups on a fair and equitable basis and (b) settle,
compromise or otherwise dispose of certain Claims and Equity Interests on terms that the
Plan Proponents believe to be fair and reasonable and in the best interests of the Estate
and Sentinel's Customers and other Creditors. The Plan provides for the liquidation of
the Debtor's assets and the distribution of such assets in an orderly manner to Creditors.

The cornerstone of the Plan is a series of interdependent settlements and
compromises (the "Settlements") of various inter-creditor disputes (the "Disputes"). The
Settlements, which are the product of protracted negotiations between and among various
constituencies, represented by the Creditors Committee and its legal professionals, are
designed to achieve a global, consensual resolution without litigation of issues which
arose in the Chapter 11 Case. The Creditors Committee believes that settlement of the
Disputes is the best way to ensure a prompt and fair resolution of the Chapter 11 Case.
Although litigation could produce somewhat different absolute and relative recoveries
from those embodied in the Plan, the Creditors Committee believes that such litigation
would be extraordinarily expensive and would not be finally resolved for years, thus
delaying and potentially materially reducing distributions to all creditors. Moreover, the
Creditors Committee believes that the recoveries provided under the Plan to Holders of
Class 3 Customer Claims and Class 4 General Unsecured Claims are substantially higher
than the lowest point in the range of reasonable litigation outcomes in the absence of the
Settlements. The Settlements have paved the way for the Plan, which the Plan Proponents
believe will enable maximum distributions to all of the Debtor's Creditors, without the
cost and delay of litigation.

The Disputes being resolved by the Settlements include, among others:
1. Property of the Estate

A recurring theme in the Chapter 11 Case that affects all Creditors of
Sentinel is whether property that was supposed to be held for Customers constitutes
"property of the estate" as defined in the Bankruptcy Code. This is important because,
among other things, in certain circumstances only Property of the Estate would be
recoverable by the Estate from targets of litigation for the ratable benefit of similarly
situated Creditors. Indeed, this issue has been raised as a defense to certain Causes of
Actions brought by the Chapter 11 Trustee, including by the Insiders and BONY, as well
as potential targets of significant Avoidance Actions. Moreover, even if the Bankruptcy
Court were to determine that certain property was not Property of the Estate, a significant
dispute would still exist as to whether that property should be distributed pro rata among
customers. In connection with formulation of the Plan, the property of the estate issue
was central to forging a compromise over the propriety of the Citadel Sale Distributions

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that were disbursed to SEG 1 Customers on or about the Petition Date. The following
questions have been considered by the Plan Proponents in connection with formulation of
the Plan, and their resolution is embedded therein:

(a) Whether the Citadel Sale Distributions were transfers of
Property of the Estate or merely a return of SEG 1! Customers' own

property;

(b) Whether the Citadel Sale Distributions were in fact
"authorized" by the Bankruptcy Court at all;

(c) If such authorization was obtained, whether the Bankruptcy
Court was provided with inaccurate or incomplete evidence upon which to
grant such authorization; and

(d) If such authorization was not obtained, whether the Citadel
Sale Distributions are avoidable pursuant to Section 549 of the Bankruptcy
Code.

The Chapter 11 Trustee, together with his legal and financial
professionals, have expended substantial resources investigating Sentinel's business and
the way in which Customer deposits and fractional interests in securities were maintained
by the Debtor. As set forth in the Insider Complaint, the BONY Complaint, and the
M&P Complaint, see Section V.I., and as described in Section IV. above, the Chapter 11
Trustee has concluded that certain Sentinel insiders engaged in extensive breaches of
fiduciary duty and wrongdoing against Sentinel and its Customers where property
intended to be held in a custodial capacity was instead commingled among all Customers'
property, and with the Insiders' own property, and was pledged to or converted by
BONY, notwithstanding Sentinel's and BONY's duties to the contrary. The Chapter 11
Trustee has concluded further that securities were allocated to customer accounts without
regard to whether they were available for customers (i.e. had been pledged as collateral
for the BONY Loan). Moreover, as a result of the forensic examination undertaken by
the Chapter 11 Trustee and his professionals, the Plan Proponents believe that interest
paid to Customers or accrued for their benefit prior to the Petition Date did not correlate
to specific property purportedly held in specific Customer accounts. Rather, the Insiders
manipulated Customer property for their own personal gain, and the Chapter 11 Trustee
believes BONY similarly accepted Customer property as collateral for the loans, even
though the Chapter 11 Trustee believes BONY should have held such property
segregated for Customers. BONY disputes that it had any independent obligation not to
accept such Customer property as collateral for the loans or to keep such property
segregated and asserts that it was entitled to rely on Sentinel’s representations that it
could pledge such collateral to BONY.

Certain Customers do not accept the Plan Proponents’ position that the
assets of certain Customers who invested in SEG 1 are not traceable and that even if
commingling and misuse occurred, the Bankruptcy Court can trace their particular
securities so as to preserve the benefits of segregation they bargained for. However, as a

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result of the manner in which certain Sentinel insiders misused and diverted Customer
funds from the very first day funds were deposited by Customers, allocated securities to
Customers' SEGs without regard to whether the securities actually were segregated for
the benefit of the Customers, reported fictitious cost basis and interest on Customer
statements, and engaged in mass transfers of securities to and from SEG accounts during
June through August 2007 to the detriment of one group of Customers over another, the
Chapter 11 Trustee does not believe that any tracing rules can or should apply.
Moreover, based upon his extensive investigation conducted with his retained
professionals, the Chapter 11 Trustee has concluded even if the Bankruptcy Court were to
apply tracing rules to specific securities from a certain potentially arbitrary date, certain
Customers, and in particular the Customers that were the beneficiaries of the August 15,
2007 redemptions or were recipients of the Citadel Sale Distributions, have already
received more than that to which they would be entitled if tracing rules were to be applied
on such a limited basis.

Certain SEG 1 Customers believe that the Plan is unconfirmable because it
provides for the distribution of certain assets contained in accounts denominated as
SEG | which certain SEG 1 Customers believe are not property of the Estate under
section 541 of the Bankruptcy Code pursuant to the CEA, related CFTC regulations, and
the Investment Agreements. In addition, certain SEG 1 Customers believe that the Plan’s
attempt to use such assets is procedurally defective because the Plan Proponents, in their
belief that such property is Estate property, have not filed an adversary proceeding to
determine the extent of any ownership interest in such assets as certain SEG 1 Customers
believe is required by Bankruptcy Rule 7001(2).

The Plan acknowledges the promises made by Sentinel to segregate and
protect Customers' custodial property, but also recognizes the Chapter 11 Trustee’s
assertion of the facts of commingling of such property by certain Sentinel insiders. In the
face of such commingling, and the Plan Proponents’ belief that tracing cannot apply as
both a legal and practical matter, the Chapter 11 Trustee believes a pro rata distribution
of Remaining Assets is fair. Similarly, the Plan Proponents believe that the Citadel
Securities and the Cash used to fund the SEG 1 Special Distribution were commingled
and misused just like other custodial property generally, and cannot fairly be allocated to
one or more Customer groups. The Plan does not, however, require a finding in this
regard as a condition to confirmation. Rather, the Plan proposes a settlement offer to all
Citadel-Beneficiary Customers in the hope of avoiding inter-Customer litigation. To the
extent any Citadel-Beneficiary Customer refuses to accept the offer, the Plan reserves
litigation over the Citadel Sale Distributions for another day. The Plan Proponents
believe that Citadel-Beneficiary Customers should enter into the settlement embodied in
the Plan so as to realize certainty as to any potential Estate liability arising out of their
receipt of Citadel Sale Distributions and SEG 1 Special Distributions. This certainty, in
combination with the potential for receiving a release in exchange for no contribution to
the Estate constitute the primary consideration offered to Citadel-Beneficiary Customers
by the settlement.

Notwithstanding the fact that the settlement embodied in the Plan was
negotiated by and agreed upon by all of the NonCitadel-Beneficiary Customers and a

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Citadel-Beneficiary Customer serving on the Creditors’ Committee, and is supported by
both the Creditors’ Committee and the Chapter 11 Trustee, a group of Citadel-
Beneficiary Customers believe that the settlement embodied in the Plan is not an
equitable resolution of the disputes between Citadel-Beneficiary Customers and Non-
Citadel Beneficiary Customers. Such Customers do not see the settlement as an attractive
alternative to litigation.

2. Stockbroker LiquidationThe Creditors Committee believes that
the stockbroker liquidation provisions of the Bankruptcy Code may be applicable to
Sentinel. The basis for the Creditors Committee's position is notwithstanding that
Sentinel may not have held itself out as a "stockbroker" in the commonly understood
sense, Sentinel in fact operated in a way that could bring it within the definition set forth
in Section 101(53A) of the Bankruptcy Code. Section 101(53A) of the Bankruptcy Code
defines the term "stockbroker" as a debtor that meets two criteria: (a) the debtor must
have "customers"; and (b) the debtor must be engaged in the business of "effecting
transactions in securities — for the account of others; or with members of the general
public, from or for such person’s own account.” The term "customer" is defined under
Section 741 of the Bankruptcy Code in three ways. First, a person or entity is a customer
if securities are received, acquired, or held by the debtor in the ordinary course of the
debtor's business for safekeeping, with a view to sale, to cover a consummated sale,
pursuant to a purchase, as collateral under a security agreement, or for the purpose of
effecting registration or transfer. Second, a person or entity is a customer if it has a claim
against the debtor arising out of a sale of a security held pursuant to Section 741(2)(A).
Third, and most importantly for the Plan's purposes, a person or entity is a customer if it
deposited cash, a security, or other property with the debtor for the purpose of buying or
selling a security. Moreover, a person effects transactions if he or she participates in
securities transactions at key points in the chain of distribution as did Sentinel.

If Sentinel were liquidated as a stockbroker under Subchapter III, one of
the central issues regarding property of the estate would be rendered moot, because all
such property deposited by or held for Customers would be pooled and distributed ratably
as "customer property."

The Plan Proponents acknowledge that certain SEG 1 Customers disagree
that Sentinel should be considered to be a "stockbroker" and that Subchapter III should
not apply to the Debtor. The position of such SEG 1 Customers is based upon their belief
that a bankruptcy court would not consider Sentinel a “broker” or a “dealer” and
therefore not a “stockbroker.” This issue of whether Sentinel would qualify for
Subchapter III would be a very fact-intensive one, and rather than attempt to litigate the
issue of whether Sentinel qualifies as a stockbroker, which would undoubtedly be an
expensive and protracted effort, the Plan Proponents devised the Plan to incorporate
certain salient features of Subchapter II, while retaining the asset-maximizing benefit of
Chapter 11, as an inextricable part of the global compromise and settlement embodied by
the Plan.

3. Claim CalculationThe Plan Proponents are cognizant of the fact
that there are different methods for calculating investors’ claims where such investors

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were the victims of gross misconduct. Rather than leave the matter to be litigated
between parties fighting to establish a methodology which would best serve their
individual interests, the Plan Proponents believe the Plan provides for the most equitable
treatment obtainable for all of Sentinel's Customers. The Plan Proponents believe that,
given the extensive breaches of fiduciary duty and wrongdoing that certain insiders of the
Debtor have effected upon Sentinel and all Customers, accounting for Customers’ Claims
as a Customer's "net investment" (cash deposits less cash withdrawals), and not as a
Customer's "net equity" (hypothetical liquidation value of the securities allocated to a
Customer by Sentinel), is not only the most equitable approach, but the one supported by
applicable law under analogous circumstances. Incidentally, as tested by the Plan
Proponents over the three and a half year period of time preceding the Petition Date, the
notional value that Sentinel reported to Sentinel's Customers on its monthly account
statements closely approximated Customers’ "net investment" Claim measured over the
same period. This is primarily due to the fact that Sentinel's Customers’ accounts, as
reported to them, never lost money and were allocated a fixed level of monthly interest.
Given the proximity of the amount reported to Customers by Sentinel on their customer
statements to their actual "net investment" (when provision is made for time value of
money), and due to the unreliable and incomplete nature of Sentinel's books and records
(which would obfuscate any attempt to arrive at a perfectly accurate measurement of "net
investment"), the Plan Proponents believe that the amount reported by Sentinel on
Customers' account statement is in fact the most efficient, equitable method to calculate
Customer Claims. By providing for the methodology of Claims as an inextricable part of
the global compromise and settlement embodied in the Plan, the Estate avoids costly
litigation of the matter.

4, Basis for Compromise

While various members of the Creditors Committee and the Chapter 11
Trustee have differing views over the relative strengths and weaknesses of the claims and
potential defenses involved in the Disputes and, accordingly, disagree as to how those
claims and defenses would fare if litigated to final judgment, they do agree that resolution
of the Disputes is crucial to confirmation of any plan and that resolution through
litigation would result in substantial delay and expense, to the detriment of all
stakeholders. The proposed treatment for the various Classes, which reflects the
compromises and settlements embodied in the Plan, gives due consideration to the
strengths and weaknesses of the parties’ potential litigation positions, and the Plan
Proponents assert that the distribution to any particular Creditor is no better than the best
possible judicial determination in favor of such Creditor and no worse than the worst
possible outcome that would be achieved if such disputes were resolved by judicial
determination. Accordingly, the Creditors Committee believes that the compromises and
settlements embodied in the Plan are within the range of likely litigation results.

To approve a compromise or settlement, a court must find that it is fair
and equitable and in the best interests of the bankruptcy estates. See Protective Comm.
for Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424
(1968). In making that determination, a court must consider the probability of success in
the litigation; the complexity of the litigation; the expense, inconvenience and delay

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necessarily attending it; and the paramount interests of the creditors, with a proper
deference to their reasonable views. The decision to settle ordinarily is a matter of sound
business judgment and, because litigation outcomes cannot be predicted with
mathematical precision, only if a settlement falls below the low end of possible litigation
outcomes will it fail the reasonable equivalence standard. In re Doctors Hosp. of Hyde
Park, Inc., 474 F.3d 421, 426 (7th Cir. 2007).

After careful review of the estimated recoveries under a hypothetical
Chapter 7 liquidation scenario, the Plan Proponents have concluded that the recovery to
Claimants will be maximized by completing the liquidation of the Debtor under
Chapter 11 of the Bankruptcy Code and making distributions pursuant to the Plan.

The Plan is annexed hereto as Exhibit A and forms part of this Disclosure
Statement. The summary of the Plan set forth below is qualified in its entirety by
reference to the more detailed provisions of the Plan.

The statements contained in the Disclosure Statement include summaries
of the provisions contained in the Plan and in documents referred to therein. The
statements contained in this Disclosure Statement do not purport to be precise or
complete statements of all the terms and provisions of the Plan or documents referred to
therein, and reference is made to the Plan and to such documents for the full and
complete statements of such terms and provisions.

The Plan itself and the documents referred to therein control and actual
treatment of Claims against and Equity Interests in the Debtor under the Plan will, upon
the Effective Date, be binding upon all holders of Claims against and Equity Interests in
the Debtor and its Estate, the Liquidation Trustee and other parties in interest. In the
event of any conflict between this Disclosure Statement, on the one hand, and the Plan,
the Trust Agreement or any other operative document, on the other hand, the terms of the
Plan, and such other operative document, as the case may be, are controlling.

B. Overall Structure of the Plan

The Plan Proponents believe that the Plan provides the best and most
expeditious recovery to the Debtor's Claim Holders. Under the Plan, Claims against and
Equity Interests in the Debtor are divided into different classes. If the Plan is confirmed
by the Bankruptcy Court and consummated, on the Initial Distribution Date, and at
certain Distribution Dates thereafter as Claims are resolved, liquidated, or estimated, the
Liquidation Trustee will distribute Cash in respect of Allowed Claims as provided in the
Plan. The Classes of Claims against and Equity Interests in the Debtor created under the
Plan, the treatment of those Classes under the Plan, and the distributions to be made
under the Plan are described below.

Cc. Classification and Treatment of Administrative Claims, Claims and
Equity Interests Under the Plan

Only administrative expenses, claims and equity interests that are
"allowed" may receive distributions under a Chapter 11 plan. An allowed administrative

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expense, claim or equity interest simply means that the debtor agrees, or in the event of a
dispute, that the court determines, that the administrative expense, claim or equity
interest, including the amount, is in fact a valid obligation of the debtor. Section 502(a)
of the Bankruptcy Code provides that a timely filed administrative expense, claim or
equity interest is automatically Allowed unless the debtor or another party in interest
objects. However, Section 502(b) of the Bankruptcy Code specifies certain claims that
may not be allowed in a bankruptcy case even if a proof of claim is filed. These include,
without limitation, claims that are unenforceable under the governing agreement or
applicable non-bankruptcy law, claims for unmatured interest, property tax claims in
excess of the debtor's equity in the property, claims for certain services that exceed their
reasonable value, lease and employment contract rejection damage claims in excess of
specified amounts, and late-filed claims. In addition, Bankruptcy Rule 3003(c)(2)
prohibits the allowance of any claim or equity interest that either is not listed on the
debtor's schedules or is listed as disputed, contingent, or unliquidated, if the holder has
not filed a proof of claim or equity interest before the deadline to file proofs of claim and
interests.

The Bankruptcy Code also requires that, for purposes of treatment and
voting, a Chapter 11 plan divide the different claims against, and equity interests in, the
debtor into separate classes based upon their legal nature. Claims of a substantially
similar legal nature are usually classified together, as are interests of a substantially
similar legal nature. Because an entity may hold multiple claims and/or interests which
give rise to different legal rights, the holders of such claims and/or interests may find
themselves members of multiple classes of claims and/or interests. As a result, under the
Plan, for example, a creditor that holds both a Secured Claim and a Customer Claim
would have its Secured Claim classified in Class 2 and its Customer Claim classified in
Class 3. To the extent of this Holder's Secured Claim, the Holder would be entitled to the
voting and treatment rights that the Plan provides with respect to Class 2, and, to the
extent of the Holder's Customer Claim, the voting and treatment rights that the Plan
provides with respect to Class 3.

Under a Chapter 11 plan, the separate classes of claims and interests must
be designated either as "impaired" (altered by the plan in any way) or "unimpaired"
(unaltered by the plan). If a class of claims is impaired, the Bankruptcy Code affords
certain rights to the holders of such claims, such as the right to vote on the plan (unless
the plan provides for no distribution to the holder, in which case, the holder is deemed to
reject the plan), and the right to receive an amount under the Chapter 11 plan that is not
less than the value that the holder would receive if the debtor were liquidated under
Chapter 7. Under Section 1124 of the Bankruptcy Code, a class of claims or interests is
impaired unless, with respect to each claim or interest of such class, the plan (i) does not
alter the legal, equitable, and contractual rights of the holders of such claims or interests
or (ii) irrespective of the holder's right to receive accelerated payment of such claims or
interests after the occurrence of a default, cures all defaults (other than those arising from,
among other things, the debtor's insolvency or the commencement of a bankruptcy case),
reinstates the maturity of the claims or interests in the class, compensates the holders of
such claims or interests for any damages incurred as a result of their reasonable reliance
upon any acceleration rights, and does not otherwise alter their legal, equitable or

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contractual rights. Typically, this means that the holder of an unimpaired claim will
receive, on the later of the effective date of the plan of reorganization or the date on
which amounts owing are due and payable, payment in full, in cash, with postpetition
interest to the extent permitted and provided under the governing agreement between the
parties (or if there is no agreement, under applicable non-bankruptcy law), and the
remainder of the debtor's obligations, if any, will be performed as they come due in
accordance with their terms. Thus, other than the loss of its right to accelerate a debtor's
obligations, the holder of an unimpaired claim will be placed in the position it would
have been in had the debtor's case not been commenced.

Consistent with these requirements, the Plan divides the Claims against,
and Equity Interests in, the Debtor into the following Classes:

Unclassified Administrative Claims Unimpaired/Paid in full

Unclassified Priority Tax Claims Unimpaired/Paid in full

Class 1 Other Priority Claims Unimpaired/Paid in full

Class 2 Secured Claims Unimpaired/Paid in full
(subject to a Bankruptcy
Court finding of
impairment).

Class 3 Customer Claims Impaired

Class 4 General Unsecured Claims Impaired

Class 5 Subordinated Claims Impaired

Class 6 Equity Interests Impaired

For purposes of computing distributions under the Plan, Allowed Claims
or Equity Interests do not include postpetition interest unless otherwise specified in the
Plan.

1. Unclassified — Administrative Claims

Administrative Claims are Claims for costs and expenses of administration
of the Chapter 11 Case Allowed under Section 503(b) of the Bankruptcy Code and
entitled to priority under Sections 507(a)(1) or 507(b) of the Bankruptcy Code. Such
Claims include (i) any actual and necessary costs and expenses of preserving the Estate;
(ii) any actual and necessary costs and expenses of operating the Debtor's business;
(iii) all compensation and reimbursement of expenses to the extent awarded by the
Bankruptcy Court under Sections 330, 331 or 503 of the Bankruptcy Code; and (iv) any
fees or charges assessed against the Estate under Section 1930 of Chapter 123 of title 28
of the United States Code.

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Except to the extent the Holder of an Allowed Administrative Claim, not
including a Professional Fee Claim, agrees otherwise, each Holder of an Allowed
Administrative Claim will be paid in respect of such Allowed Claim (a) the full amount
thereof in Cash, as soon as practicable after the later of (i) the Effective Date and (ii) the
date on which such Claim becomes an Allowed Claim, or upon other agreed terms, or
(b) such lesser amount as the Holder of an Allowed Administrative Claim and the
Chapter 11 Trustee or the Liquidation Trustee, as applicable (each with the prior consent
of the Creditors Committee or the Liquidation Trust Committee, as applicable), might
otherwise agree.

The Chapter 11 Trustee estimates that there will be $7 million in
Administrative Claims.

2. Unclassified — Priority Tax Claims

A Priority Tax Claim consists of any Claim of a governmental unit of the
kind specified in Sections 502(i) and 507(a)(8) of the Bankruptcy Code. These unsecured
Claims are given a statutory priority in right of payment. Each Holder of an Allowed
Priority Tax Claim will be paid in respect of such Allowed Claim either (a) the full
amount thereof, without post-petition interest or penalty, in Cash, as soon as practicable
after the later of (i) the Effective Date and (ii) the date on which such Claim becomes an
Allowed Claim or upon other agreed terms, or (b) such lesser amount as the holder of an
Allowed Priority Tax Claim and the Chapter 11 Trustee or the Liquidation Trustee, as
applicable, (each with the prior consent of the Creditors Committee or the Liquidation
Trust Committee, as applicable), might otherwise agree.

The Chapter 11 Trustee is unaware of any Priority Tax Claims.

3. Class 1 — Other Priority ClaimsOther Priority Claims are
Claims which are entitled to priority pursuant to Section 507(a) of the Bankruptcy Code
— other than Administrative Claims and Priority Tax Claims. Such Claims include
(i) unsecured Claims for accrued employee compensation earned within 180 days prior to
the commencement of the Chapter 11 Cases to the extent of $10,950 per employee and
(ii) contributions to employee benefit plans arising from services rendered within 180
days prior to the commencement of the Chapter 11 Cases, but only for each such plan to
the extent of (a) the number of employees covered by such plan multiplied by $10,950,
less (b) the aggregate amount paid to such employees from the Estates for wages, salaries
or commissions.

Except to the extent that the Chapter 11 Trustee or the Liquidation
Trustee, as applicable (each with the prior consent of the Creditors Committee or the
Liquidation Trust Committee, as applicable), and a holder of an Allowed Other Priority
Claim agree to a different treatment, each holder of an Allowed Other Priority Claim will
receive, in full and final satisfaction of such Claim, payment in full in Cash in an amount
equal to such Allowed Other Priority Claim on the later of the Initial Distribution Date
and the date when such Other Priority Claim becomes an Allowed Other Priority Claim,
or as soon thereafter as is practicable. All Allowed Other Priority Claims which are not

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due and payable on or before the Effective Date will be paid by the Liquidation Trustee
in the ordinary course of business in accordance with the terms thereof.

The Chapter 11 Trustee is unaware of any Other Priority Claims.

4. Class 2 — Secured ClaimsSecured Claims include Claims that
are secured by a Lien on property or interests in property, in which the Debtor has an
interest. Such interests are Secured Claims to the extent of (4) the value as of the
Effective Date, or such other date as is established by the Bankruptcy Court, of such
interest or Lien determined by a Final Order of the Bankruptcy Court pursuant to
Section 506 of the Bankruptcy Code; or (ii) as otherwise agreed upon in writing by the
Debtor and the holder of such Claim, to the extent reflected in the Schedules or a proof of
Claim as a Secured Claim which is secured by a Lien on collateral to the extent of the
value of such collateral; (iii) as determined in accordance with Section 506(a) of the
Bankruptcy Code; or (iv) in the event that such Claim is subject to setoff under
Section 553 of the Bankruptcy Code, to the extent of such setoff.

Except to the extent that the Chapter 11 Trustee or the Liquidation
Trustee, as applicable (each with the prior consent of the Creditors Committee or the
Liquidation Trust Committee, as applicable), and a holder of an Allowed Secured Claim
agree to a different treatment, in full and final satisfaction of such Claim, in the
Liquidation Trustee's sole discretion, (i) each Holder of an Allowed Secured Claim will
receive Cash in an amount equal to such Allowed Secured Claim in full and complete
satisfaction of such Allowed Secured Claim on the later of the Initial Distribution Date
and the date such Secured Claim becomes an Allowed Secured Claim, or as soon
thereafter as is practicable, or (ii) each Holder of an Allowed Secured Claim will receive
the Collateral securing its Allowed Secured Claim or the proceeds of such Collateral in
full and complete satisfaction of such Allowed Secured Claim on the later of the Initial
Distribution Date and the date such Secured Claim becomes an Allowed Secured Claim,
or as soon thereafter as is practicable.

The only Secured Claims of which the Chapter 11 Trustee is aware are the
Secured Claim asserted by BONY, which as described in Section V.I. above is contested
and the subject of a pending adversary proceeding, and the Secured Claims asserted by
Cantor, as described in its proof of claim, and which, if allowed, will be paid from the
Cantor Escrowed Funds in accordance with the Cantor Turnover Stipulation. Lehman
Brothers Inc. and Lehman Commercial Paper Inc. have asserted a $1.4 million secured
right of set off, which the Plan Proponents likely will dispute.

5, Class 3—-Customer Claims

Class 3 consists of all Claims arising from Customer deposits with
Sentinel (the "Customer Claims"). Each Holder's Class 3 Customer Claim will equal the
amount listed as "Net Equity" on such Holder's Customer Account Statements dated
August 13, 2007 (or if no such Account Statements were issued, the amount that would
have been listed), plus any additional amounts such Holder deposited with Sentinel
during the period subsequent to August 13, 2007, through the Petition Date, minus any

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additional amounts such Holder received from Sentinel during the period subsequent to
August 13, 2007 up through and including the Petition Date; provided, that any
distributions made on account of a Class 3 Customer Claim following the Petition Date,
including the Citadel Sale Distributions, will be applied towards such Class 3 Customer
Claim.

Holders of Allowed Class 3 Customer Claims will be entitled to a Pro
Rata distribution of Customer Property’, including: (a) Cash held by the Estate on the
Effective Date after the payment of (if Allowed), or appropriate reservation for, as
applicable, the Priority Tax Claims, Professional Fee Claims, Other Priority Claims, and
Secured Claims, if any, and (b) net Cash proceeds of the liquidation of the Remaining
Assets that are Customer Property. Subject to Section 10.10 of the Plan, any distributions
made to the Holders of Allowed Class 3 Customer Claims will be made to Holders of
Allowed Class 3 Customer Claims that are NonCitadel-Beneficiary Customers only, and
no further distributions shall be made to any Citadel-Beneficiary Customer, unless and
until all Holders of Allowed Class 3 Customer Claims that are NonCitadel-Beneficiary
Customers will have received a Percentage Recovery equivalent to such Citadel-
Beneficiary Customer taking into account all of such Citadel-Beneficiary Customer’s
Class 3 Customer Claims.

The Chapter 11 Trustee estimates that there are $1,220,320,123 in Class 3
Customers Claims, $738,964,040 of which are Class 3 Customer Claims attributable to
NonCitadel-Beneficiary Customers, $427,678,307 of which are Class 3 Customer Claims
attributable to Citadel-Beneficiary Customers arising out of participation in SEG 1 and
$53,677,776 of which are Class 3 Customer Claims attributable to Citadel-Beneficiary
Customers arising out of participation in SEG 2, SEG 3, or SEG 4.

6. Class 4—General Unsecured Claims

Class 4 consists of all unsecured Claims against Sentinel that do not
constitute Administrative Claims, Priority Tax Claims, Other Priority Claims, Customer
Claims, or Subordinated Claims ("General Unsecured Claims"); provided, however, that
to the extent Class 3 Customer Claims are not fully satisfied from Customer Property,
such deficiency claims will constitute General Unsecured Claims.

Holders of Allowed Class 4 General Unsecured Claims will be entitled to
a Pro Rata distribution of Cash and Cash proceeds of all Property not allocated for
payment of Allowed Claims in other Classes.

 

> Customer Property is defined in the Plan to mean: from and after the Petition

Date, Cash, security, or other property, and proceeds of such Cash, security, or property,
received, acquired, or held by or for, or which should have been held by or for, a
Customer, including any such property even if distributed to a Customer outside of the
Plan and subsequently recovered by the Estate, including all funds and securities on
deposit at the Bank of New York and in segregated accounts at JPMorgan Chase & Co. in
the name of Sentinel or the Chapter 11 Trustee. BONY disputes that any funds or
securities in its possession are Customer Property as defined under the Plan.

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An initial calculation of Customer Property and an estimated total Claims
pool for potentially allowable Class 3 Customer Claims as of the Petition Date will be
made by the Chapter 11 Trustee and used for purposes of arriving at an initial calculation
of total deficiency Class 4 General Unsecured Claims on account of Class 3 Customer
Claims. This calculation of total deficiency Class 4 General Unsecured Claims on
account of Class 3 Customer Claims will be (i) updated periodically based on a
reconciliation of Allowed Customer Claims, Disallowed Customer Claims, and the
realization or recovery of Customer Property in excess of or less than the nominal
calculation and (ii) utilized for purposes of calculating any distributions to Holders of
General Unsecured Claims.

With respect to deficiency Class 4 General Unsecured Claims on account
of Class 3 Customer Claims only, subject to Section 10.10 of the Plan, no distributions
will be made to Holders of Class 4 General Unsecured Claims on account of Class 3
Customer Claims that are Citadel-Beneficiary Customers pending the receipt of a
Percentage Recovery for all Holders of Allowed Class 3 Customer Claims that are
NonCitadel-Beneficiary Customers equivalent to such Citadel-Beneficiary Customer, as
provided in Section 4.4 of the Plan.

For purposes of calculating Percentage Recoveries on Allowed Class 3
Customer Claims, any such recoveries on behalf of Class 4 General Unsecured Claims
will be included.

As of the Effective Date, the Plan Proponents do not expect to have any
assets which would not be deemed Customer Property. Property that is not Customer
Property will be wholly contingent upon the outcome of certain Causes of Action
commenced by the Liquidation Trustee for the benefit of the Estate. Assuming “Assets
available for distribution to all other Creditors" as set forth in the Liquidation Analysis
(attached hereto as Exhibit B) are distributed to NonCitadel-Beneficiary Customers and
no additional Customer Property is recovered, the Plan Proponents estimate that roughly
$550 to $600 million in Class 3 Customer Claims will not be satisfied from Customer
Property, and will constitute Class 4 General Unsecured Claims.

The Chapter 11 Trustee estimates that there are less than $10 million in
Class 4 General Unsecured Claims, excluding deficiency Class 4 General Unsecured
Claims on account of Class 3 Customer Claims. Additionally, Lehman Brothers Inc. has
asserted a $14 million unsecured claim, which the Plan Proponents likely will dispute.

7. Class 5—Subordinated Claims

Class 5 consists of all Claims, if any, which (i) are held by insiders (as
defined by 11 U.S.C. § 101(31)), including Sentinel affiliates and persons who directly or
indirectly hold an Equity Interest in Sentinel, (ii) are held by anyone whose Claim is
subordinated to all other Claims by agreement or pursuant to Section 510 of the
Bankruptcy Code, (iii) is a Claim for a fine, penalty, forfeiture, multiple, exemplary or
punitive damages, or otherwise not predicated upon compensatory damages, and that
would be subordinated in a Chapter 7 case pursuant to Section 726(a)(4) of the

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Bankruptcy Code or otherwise, and (iv) unless all other Class 3 Customer Claims have
been paid in full, is a Customer Claim held by an insider, a beneficial owner of at least
five percent of Equity Interests, an entity that, directly or indirectly, through agreement or
otherwise, exercised or had the power to exercise control over the management or
policies of the Debtor, or any other entity whose Claim would be subordinated in a
Chapter 7 case pursuant to Section 747 of the Bankruptcy Code or otherwise
("Subordinated Claims").

Holders of Subordinated Claims will receive no distributions on account
of such Claims.

8. Class 6—Equity Interests

Class 6 consists of all Equity Interests in Sentinel. Holders of Equity
Interests will receive no distributions on account of such Equity Interests.

D. Bar Dates for Administrative Claims

Unless otherwise ordered by the Bankruptcy Court, requests for payment
of Administrative Claims (except for Professional Fee Claims), must be Filed and served
on the Chapter 11 Trustee or the Liquidation Trustee, as applicable, and its counsel, the
Creditors Committee or the Liquidation Trust Committee, as applicable, and its counsel
and the other notice parties set forth in the Administrative Compensation Order, no later
than (i) ten (10) days prior to the Voting Deadline for Administrative Claims accrued
through the date of the Procedures Order and (ii) thirty (30) days after the Effective Date
for all other Administrative Claims (the "Administrative Claims Bar Date"). Any Person
that is required to File and serve a request for payment of an Administrative Claim and
fails _to_timely File and_serve_such_request, will_be forever barred, estopped, and
enjoined from asserting such Claim or participating in distributions under the Plan on
account thereof. Objections to requests for payment of Administrative Claims (except
for Professional Fee Claims) must be Filed and served on the Chapter 11 Trustee or the
Liquidation Trustee, as applicable, and its counsel, the Creditors Committee or the
Liquidation Trust Committee, as applicable, and its counsel and the other notice parties
set forth in the Administrative Compensation Order and the requesting party within thirty
(30) days after the Administrative Claims Bar Date.

E. Professional Fee Claims

All requests for compensation or reimbursement of Professional Fee
Claims for services rendered on or after the Petition Date and prior to the Effective Date
will be Filed and served on the Chapter 11 Trustee or the Liquidation Trustee, as
applicable, and its counsel, the Creditors Committee or the Liquidation Trust Committee,
as applicable, and its counsel, and such other entities who are designated by the
Bankruptcy Rules, the Confirmation Order or any other order(s) of the Bankruptcy Court,
no later than forty-five (45) days after the Effective Date ("Professional Fee Claims Bar
Date").

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Holders of Professional Fee Claims that are required to File and serve
applications for final allowance of their Professional Fee Claims and that do not File and
serve such applications by the required deadline will be forever barred from asserting
such Professional Fee Claims against the Debtor, and such Professional Fee Claims will
be deemed discharged as of the Effective Date. Objections to any Professional Fee
Claims must be Filed and served on the requesting Professional, the Chapter 11 Trustee
or the Liquidation Trustee, as applicable, and its counsel, the Creditors Committee or the
Liquidation Trust Committee, as applicable, and its counsel, and the other notice parties
set forth in the Administrative Compensation Order no later than thirty (30) days after the
Professional Fee Claims Bar Date.

Except to the extent that a holder of a Professional Fee Claim fails to File
and serve appropriate fee applications in a timely manner and the Bankruptcy Court
withholds payment of the Professional Fee Claims, holders of Professional Fee Claims
will receive Cash in an amount equal to the Allowed amount of their respective
Bankruptcy Court approved Professional Fee Claims.

F. No Discharge of Claims; Injunction.

Under the Plan, pursuant to Section 1141(d)(3) of the Bankruptcy Code,
confirmation will not discharge Claims against the Debtor; provided, however, that no
Holder of a Claim against or Equity Interest in the Debtor may, on account of such Claim
or Equity Interest, seek or receive any payment or other distribution from, or seek
recourse against the Estate or the Liquidation Trust, or Property, except for distributions
under the Plan. Accordingly, except as otherwise provided in the Plan, all Persons, other
than governmental entities and agencies exercising their police or regulatory powers, who
have held, hold, or may hold Claims against or Equity Interests in the Debtor are
permanently enjoined under the Plan from taking any of the following actions against the
Estate or the Liquidation Trust or any Property on account of any such Claims or Equity
Interests: (A) commencing or continuing, in any matter or in any place, any action or
other proceeding; (B) enforcing, attaching, collecting, or recovering in any manner any
judgment, award, decree, or order; (C) creating, perfecting, or enforcing any Lien or
encumbrance; and (D) commencing or continuing in any manner or in any place, any
action that does not comply with or is inconsistent with the provisions of the Plan;
provided, however, that (x) nothing shall preclude such Persons from exercising their
rights pursuant to and consistent with the terms of the Plan; (y) any rights of setoff or
recoupment, to the extent valid, are preserved, and the injunctions referenced in this
Section shall not enjoin the valid exercise of such right of setoff or recoupment; and (z)
no Holder of any Claim or Equity Interest shall be deemed to have released the Debtor in
any way for accepting the terms of the Plan, retaining Citadel Sale Distributions or SEG 1
Special Distributions, or accepting distributions pursuant to the Plan.

G. Treatment of Executory Contracts and Unexpired Leases

The Bankruptcy Code grants a debtor the power, subject to the approval of
the Bankruptcy Court, to assume and assign, or reject executory contracts and unexpired
leases. If an executory contract or unexpired lease is rejected, the other party to the

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agreement may file a claim for damages, if any, incurred by reason of the rejection. In
the case of rejection of leases of real property, such damage Claims are subject to certain
limitations imposed by the Bankruptcy Code.

Any and all pre-petition leases or executory contracts not previously
rejected by the Chapter 11 Trustee, unless specifically assumed pursuant to orders of the
Bankruptcy Court prior to the Confirmation Date or the subject of a motion to assume or
assume and assign pending on the Confirmation Date, will be deemed rejected by the
Chapter 11 Trustee on the Confirmation Date.

All proofs of claim with respect to Claims arising from the rejection of
executory contracts or leases will, unless another order of the Bankruptcy Court provides
for an earlier date, be Filed with the Bankruptcy Court within thirty (30) days after the
mailing of notice of entry of the Confirmation Order. All proofs of claim with respect to
Claims arising from the rejection of executory contracts will be treated as Class 4 General
Unsecured Claims for purposes of a distribution pursuant to the Plan.

H. Plan Administration

Subsequent to the Effective Date, the Estate will be administered by the
Liquidation Trustee, whom without any further action of the Debtor or the Chapter 11
Trustee, shall become the appointed representative of the Estate in accordance with
Section 1123(b)(3) of the Bankruptcy Code, and shall serve as the sole officer and sole
director of the post-Effective Date Debtor. The Liquidation Trustee shall be responsible
for liquidating and administering the Remaining Assets and for all distributions under the
Plan. On the Transfer Date, a grantor's trust will be established in accordance with the
Trust Agreement. A copy of the Trust Agreement will be filed prior to the Confirmation
Hearing.

1. Duties and Compensation of the Liquidation Trustee

The Liquidation Trustee will be responsible for receiving, liquidating,
administering, and distributing (x) prior to the Transfer Date, the Remaining Assets and
(y) from and after the Transfer Date, the Trust Assets, all in accordance with the Plan and
the Trust Agreement. The Liquidation Trustee, subject to consultation with the
Liquidation Trust Committee, will have full authority to take all steps necessary to
administer the Estate and the Liquidation Trust, including without limitation, the duty and
obligation to make distributions to Creditors hereunder, to review and maintain
objections to or compromise Claims, and to pursue Causes of Action. The Liquidation
Trustee will have and perform all of the duties, responsibilities, rights and obligations set
forth in the Plan.

On or before August 11, 2008, subject to his obligations under Bankruptcy
Rule 9011 and any other ethical rule governing his and his counsel's conduct, the
Liquidation Trustee will File a motion pursuant to Federal Rule of Civil Procedure 60(b),
and other appropriate pleadings, seeking to vacate or modify the Order Approving
Tumover and Distribution of Certain Third Party Assets, entered by the Bankruptcy

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Court on August 20, 2007 [Docket No. 18], in response to the Debtor's Emergency
Motion for Approval of Turnover and Distribution of Certain Third Party Assets [Docket
No. 7] Filed that same day in connection with the Citadel Sale Distribution. On or before
the expiration of the applicable statute of limitations, including any extensions thereof
entered into after consultation with the Liquidation Trust Committee, subject to his
obligations under Bankruptcy Rule 9011 and any other ethical rule governing his and his
counsel's conduct, the Liquidation Trustee will commence Causes of Action to avoid and
recover the Citadel Sale Distributions and the SEG 1 Special Distributions from Citadel-
Beneficiary Customers who are not Electing Holders under the Plan, subject to his
reasonable judgment as to whether commencing such Causes of Action would be in the
best interests of the beneficiaries of the Liquidation Trust, taking into account the result
of the Rule 60(b) motion and the collection risk and cost attendant with specific
Customers.

The Liquidation Trustee and its retained professionals will be
compensated out of a reserve created pursuant to the Plan and the Trust Agreement.

I. Creditors' Committee and Liquidation Trust Committee

The Creditors’ Committee will continue in existence until the Effective
Date to exercise those powers and perform those duties specified in Section 1103 of the
Bankruptcy Code and will perform such other duties as it may have been assigned by the
Bankruptcy Court prior to the Effective Date. On the Effective Date, the Creditors’
Committee will be dissolved and its members will be deemed released of all their duties,
responsibilities and obligations in connection with the Chapter 11 Case or the Plan and its
implementation, and the retention or employment of the Creditors' Committee's attorneys
and other agents will terminate, except with respect to evaluating Professional Fee
Claims. All expenses of the Creditors' Committee members and the fees and expenses of
their professionals through the Effective Date will be paid in accordance with the terms
and conditions of the Administrative Compensation Order, dated November 8, 2007 and
other orders and rulings of the Bankruptcy Court.

1. Creation of Liquidation Trust Committee

On the Effective Date, the Liquidation Trust Committee will be formed
and shall consist of three representatives, consisting of the following members of the
Creditors Committee, Discus Master Ltd., Jump Trading, LLC, and Kottke Associates
LLC. JEM Commodity Relative Value Fund LP, Rotchford Barker, and BC Capital
Fund A LLC may participate on the Liquidation Trust Committee as ex officio members
with no voting rights. Penson GHCO and Vision Financial Markets LLC do not support
the Plan, and having voiced objections thereto, will not be members (ex officio or
otherwise) of the Liquidation Trust Committee whose purpose it is, in connection with
the Liquidation Trustee, to carry out the terms and provisions of the Plan. Their
opposition notwithstanding, Penson GHCO and Vision Financial Markets LLC dispute
the makeup of the Liquidation Trust Committee and their exclusion as ex officio
members.

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2. Duties and Compensation of the Liquidation Trust Committee

The members of the Liquidation Trust Committee shall consult with the
Liquidation Trustee regarding all material aspects of the Estate's continued operations
and all material activities of the Liquidation Trustee, exercising their business judgment
but subject to the provisions of the Plan.

In the event that the Liquidation Trustee declines to initiate a Cause of
Action and the Liquidation Trust Committee disagrees with the Liquidation Trustee's
decision and believes prosecuting such Cause of Action is in the best interests of
Creditors generally, then the Liquidation Trust Committee will have standing to initiate
such Cause of Action on behalf of the Liquidation Trust. In addition, to the extent that
the Liquidation Trust Committee disagrees with any decision or exercise of power by the
Liquidation Trustee, including, without limitation, the manner in which securities are
liquidated, then the Bankruptcy Court will determine such issue at the request of the
Liquidation Trust Committee.

Each member of the Liquidation Trust Committee will serve without
compensation for its performance of services as a member of the Liquidation Trust
Committee, except that each member will be entitled to reimbursement of its reasonable
expenses by the Estate or the Liquidation Trust.

3. No Liability of the Liquidation Trustee or the Liquidation
Trust Committee

Neither the Liquidation Trustee, the Liquidation Trust Committee, nor any
of its members, designees, attorneys, accountants and other professionals, nor any duly
designated agent or representative of the Liquidation Trustee or the Liquidation Trust
Committee, or their respective employees, will be liable for the act or omission of any
other member, designee, agent, or representative of the Liquidation Trustee or the
Liquidation Trust Committee, nor will the Liquidation Trustee, the Liquidation Trust
Committee, nor any of its members, designees, attorneys, accountants and other
professionals, nor any duly designated agent or representative of the Liquidation Trustee
or the Liquidation Trust Committee, or their respective employees, be liable for any act
or omission taken or omitted to be taken in its capacity as Liquidation Trustee or as a
member, designee, attorney, accountant or other professional of the Liquidation Trust
Committee, or as a duly designated agent or representative of the Liquidation Trustee or
the Liquidation Trust Committee, or as an employee of any of the foregoing, other than
acts or omissions resulting from Liquidation Trustee or such member's willful
misconduct or gross negligence. The Liquidation Trustee and the Liquidation Trust
Committee may, in connection with the performance of their functions, and in their sole
and absolute discretion, consult with counsel, accountants and their agents, and will not
be liable for any act taken, omitted to be taken, or suffered to be done in accordance with
advice or opinions rendered by such professionals, other than acts or omissions resulting
from such member's willful misconduct or gross negligence. Notwithstanding such
authority, neither the Liquidation Trustee nor the Liquidation Trust Committee will be
under any obligation to consult with counsel, accountants or its agents, and its

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determination to not do so will not result in the imposition of liability on the Liquidation
Trustee or the Liquidation Trust Committee, or its members and/or designees, unless such
determination is based on willful misconduct or gross negligence.

The Liquidation Trust will indemnify and hold harmless the Liquidation
Trustee and the Liquidation Trust Committee and their members, designees, and their and
their members' professionals, and any duly designated agent or representative thereof (in
their capacity as such), from and against and in response to any and all liabilities, losses,
damages, claims, costs and expenses, including, but not limited to attorneys’ fees arising
out of or due to their actions or omissions, or consequences of such actions or omissions,
other than as a result of their willful misconduct or gross negligence, with respect to the
implementation or administration of the Plan or the pursuit of the Causes of Action.

J. Method of Distribution Under the Plan
1. Distributions for Claims Allowed as of the Effective Date

Except as otherwise provided in the Plan or as ordered by the Bankruptcy
Court, distributions to be made on account of Claims that are Allowed Claims as of the
Effective Date will be made on the Initial Distribution Date or as soon thereafter as is
practicable. Any payment or distribution to be made on the Effective Date pursuant to
the Plan will be deemed as having been made on the Effective Date if such distribution is
made on the Effective Date or as soon thereafter as is practicable. Any payment or
distribution required to be made under the Plan on a day other than a Business Day, will
be made on the next succeeding Business Day. Distributions on account of Claims that
first become Allowed Claims after the Effective Date will be made by the Liquidation
Trustee pursuant to the terms and conditions of the Article IV. of the Plan and the Trust
Agreement, where applicable.

2. Interest On Claims

Unless otherwise specifically provided for in the Plan or Confirmation
Order, or required by applicable bankruptcy law, postpetition interest will not accrue or
be paid on any Claims, and no holder of a Claim will be entitled to interest accruing on or
after the Petition Date on any Claim.

3. Distributions by Liquidation Trustee

The Liquidation Trustee will make all distributions of Cash required to be
distributed under the applicable provisions of the Plan and the Trust Agreement. The
Liquidation Trustee may employ or contract with other entities to assist in or make the
distributions required by the Plan and the Trust Agreement.

4. Date and Delivery of Distributions

Distributions under the Plan will be made by Liquidation Trustee or its
designee to the holders of Allowed Claims at the addresses set forth in the Schedules,
unless such addresses are superseded by proofs of Claim or transfers of Claim filed

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pursuant to Bankruptcy Rule 3001 (or at the last known addresses of such holders if the
Liquidation Trustee has been notified in writing of a change of address).

5. Unclaimed Property.

If any distribution remains unclaimed for a period of ninety (90) days after
it has been delivered (or attempted to be delivered) in accordance with the Plan to the
holder of an Allowed Claim entitled thereto, such unclaimed property will be forfeited by
such holder, whereupon all right, title and interest in and to the unclaimed property will
be held by the Liquidation Trustee and will become Excess Cash.

6. Distributions to Holders as of the Record Date

With respect to all Claims, the Liquidation Trustee, as applicable, will
have no obligation to recognize the transfer of, or the sale of any participation in, any
Claim that occurs after the close of business on the Distribution Record Date, and will be
entitled for all purposes herein to recognize and distribute only to those Holders of
Claims who are Holders of such Claims, or participants therein, as of the close of
business on the Distribution Record Date. The Liquidation Trustee will instead be
entitled to recognize and deal for all purposes under the Plan with only those record
holders stated on the official claims register as of the close of business on the Distribution
Record Date.

7. Fractional Cents

Any other provision of the Plan to the contrary notwithstanding, no
payment of fractions of cents will be made. Whenever any payment of a fraction of a
cent would otherwise be called for, the actual payment will reflect a rounding down of
such fraction to the nearest whole cent.

8. Payments of Less than Ten Dollars

If a Cash payment otherwise provided for by the Plan with respect to an
Allowed Claim or Allowed Equity Interest would be less than ten ($10.00) U.S. dollars
(whether in the aggregate or on any payment date provided in the Plan), notwithstanding
any contrary provision of the Plan, the Liquidation Trustee will not be required to make
such payment and such funds will be otherwise distributed to holders of Allowed Claims
in accordance with Article IV. of the Plan.

9. Setoffs

Except as otherwise provided for herein with respect to Causes of Action
released by or on behalf of the Estate pursuant to the Plan and the Confirmation Order,
the Liquidation Trustee may, but will not be required to, set off against any Claim and the
payments to be made pursuant to the Plan in respect of such Claim, Causes of Action of
any nature whatsoever that the Estate may have against the Holder of such Claim, but
neither the failure to do so nor the allowance of a Claim will constitute a waiver or
release by the Debtor or its Estate of any Claim it may have against the Creditor.

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K. Disputed Claims
1. Objection Deadline; Prosecution of Objections

From and after the Effective Date, the Liquidation Trustee will have the
exclusive right to object to any Claims. Objections to Claims will be Filed and served
upon each affected Creditor no later than one hundred-eighty (180) days after the
Effective Date, or thirty (30) days after the Trigger Date with respect to Citadel-
Beneficiary Customers who have become Electing Holders, provided, however, that this
deadline may be extended by the Bankruptcy Court upon motion of the Liquidation
Trustee, with notice to the United States Trustee and each affected Creditor and with or
without notice to Creditors.

Subject to the terms of the Plan, objections to Claims may be litigated to
judgment, settled, or withdrawn.

2. No Distributions Pending Allowance

Notwithstanding any other provision of the Plan, no payments or
distributions will be made with respect to all or any portion of a Disputed Claim unless
and until all objections to such Disputed Claim have been settled or withdrawn or have
been determined by Final Order, and the Disputed Claim, or some portion thereof, has
become an Allowed Claim.

L. Estimation of Claims

The Liquidation Trustee may, at any time, request that the Bankruptcy
Court estimate any contingent or unliquidated Claim pursuant to Section 502(c) of the
Bankruptcy Code regardless of whether an objection has been Filed with respect to such
Claim. If the Bankruptcy Court estimates any contingent or unliquidated Claim, the
estimated amount will constitute either the Allowed Claim for such Claim or a maximum
limitation on such Claim, at the option of the Liquidation Trustee, after consultation with
the Liquidation Trust Committee. If the estimated amount constitutes a maximum
limitation on such Claim, the Liquidation Trustee may elect to pursue any supplemental
proceedings to object to the allowance and ultimate distribution on such Claim. Unless
otherwise ordered by the Bankruptcy Court, resolution or compromise of estimated
Claims will be done pursuant to the Plan. All Claims objection, estimation and resolution
procedures are cumulative and not exclusive of one another. The Creditors Committee or
the Liquidation Trust Committee, as applicable, will have the right to move the
Bankruptcy Court for disallowance of any such Claim for voting purposes.

M. Reserves
1. Disputed Claims Reserve

On or as soon as practicable after the Effective Date, the Liquidation
Trustee will establish and maintain the Disputed Claims Reserve from the Cash on hand
on the Effective Date equal to the aggregate amount that would have been distributed to

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the holders of Disputed Claims, except the Disputed BONY Secured Claim, had their
Disputed Claims been deemed Allowed Claims on the Effective Date or on the
Administrative Claims Bar Date, as applicable, or such other amount as may be approved
by the Bankruptcy Court upon motion of the Chapter 11 Trustee or Liquidation Trustee.
For effectuating the provisions of this Section, the Chapter 11 Trustee, the Liquidation
Trustee, the Creditors Committee or the Liquidation Trust Committee, may, at any time,
request that the Bankruptcy Court estimate, set, fix or liquidate the amount of the
Disputed Secured Claims pursuant to Section 502(c) of the Bankruptcy Code, in which
event the amounts so estimated, fixed or liquidated will be deemed the amounts of the
Disputed Secured Claims for purposes of the Disputed Claims Reserve.

With respect to such Disputed Claims, if, when, and to the extent any such
Disputed Claim becomes an Allowed Claim by Final Order, the relevant portion of the
Cash held in the Disputed Claims Reserve therefor will be distributed by the Liquidation
Trustee to the Claim holder in a manner consistent with distributions to similarly situated
Allowed Claims. The balance of such Cash, if any remaining after all Disputed
Administrative Claims and Disputed Priority Tax Claims have been resolved, will
become Excess Cash.

At quarterly intervals commencing ninety (90) days from the Effective
Date, the Liquidation Trustee will release any amount held in reserve on account of any
Disputed Claim that has been disallowed by Final Order during the preceding ninety (90)
day period. No payments or distributions will be made with respect to a Claim which is a
Disputed Claim pending the resolution of the dispute by Final Order.

2. Reserve for BONY Secured Claims

On the Effective Date, the Liquidation Trustee, in consultation with the
Liquidation Trust Committee, will establish and maintain a reserve for the payment of the
Disputed BONY Secured Claim (the "BONY Reserve"). For purposes of establishing the
BONY Reserve, Cash will be set aside from the Cash on hand on the Effective Date in an
amount either as agreed to by the Plan Proponents and BONY or, if no such agreement is
reached, as determined by the Bankruptcy Court, after notice and a hearing, as
constituting an amount adequate to provide for payment in full (including all principal,
accrued interest and any other indemnifiable amounts as provided for in the operative
BONY credit agreement or related documents) of the Disputed BONY Secured Claim in
the amount allowed upon final resolution of the pending BONY adversary proceeding.
Until such time, BONY will have and will retain a perfected, first-priority lien on all
funds in the BONY Reserve, subject to all defenses to the enforcement and validity of
BONY 's liens and claims. Payments or distributions from the BONY Reserve will only
be made in accordance with Section 4.3.(a) of the Plan. For effectuating the provisions of
this Section, the Chapter 11 Trustee, the Liquidation Trustee, the Creditors Committee or
the Liquidation Trust Committee, may at any time, request that the Bankruptcy Court
estimate, set, fix or liquidate the amount of the Disputed BONY Secured Claim pursuant
to Section 502(c) of the Bankruptcy Code, subject to any objection to the ability of such
party to do so, in which event the amount so estimated, fixed or liquidated will be

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deemed the amount of the Disputed BONY Secured Claim for purposes of the BONY
Reserve.

3. Reserve for Professional Fee Claims

On the Effective Date, the Liquidation Trustee, in consultation with the
Liquidation Trust Committee, will establish and maintain reserves for payment of
estimated unpaid Professional Fee Claims ("Professional Fee Reserve"). For purposes of
establishing the Professional Fee Reserve, Cash will be set aside from the Cash on hand
on the Effective Date in an amount equal to the amount that the Chapter 11 Trustee and
the Creditors Committee anticipate will be incurred for fees and expenses by
Professionals retained in the Chapter 11 Case up to and including the Effective Date. If,
when, and to the extent any such Professional Fee Claims become Allowed Claims by
Final Order, the relevant portion of the Cash held in reserve therefor will be distributed
by the Liquidation Trustee to the Professional or as set forth in such Final Order
approving the Professional Fee Claim. The balance of such Cash, if any remaining after
all Professional Fee Claims have been resolved and paid, will become Excess Cash. No
payments or distributions will be made with respect to a Professional Fee Claim until ©
such Professional Fee Claim is Allowed by Final Order.

N. Settlement Offer; Releases

As of the Effective Date, in consideration for a Citadel-Beneficiary
Customer becoming an Electing Holder and for its treatment under the Plan:

(a.) | With respect to Citadel-Beneficiary Customers who have become
Electing Holders only, the Estate will be deemed to release forever, waive, and discharge,
and third-parties will be enjoined from pursuing, all claims that in any way relate to the
Citadel Sale Distributions and the SEG 1 Special Distributions which will include any
Cause of Action arising therefrom pursuant to, inter alia, Federal Rule of Civil Procedure
60(b), and Sections 549 and 550 of the Bankruptcy Code (the "Release");

(b.) The Release will be contingent upon NonCitadel-Beneficiary
Customers receiving distributions under the Plan equivalent to fifty percent (50%) of
their Allowed Class 3 Claims, plus Interest ("Release Distribution Threshold") calculated
on the amount NonCitadel-Beneficiary Customers would have received if the Citadel
Sale Distributions and the SEG 1 Special Distributions had been made Pro Rata to all
Holders of Class 3 Customer Claims, less any interim distributions received under the
Plan, from the respective dates of the SEG 1 Special Distributions and the Citadel Sale
Distributions through the first point in time that the Release Distribution Threshold is met
or exceeded or timely contribution by an Electing Holder of its True-up Amount as
provided in subsection (c.) of Section 10.10 of the Plan;

(c.) In the event that the Release Distribution Threshold has not been
met or exceeded as of the date when the BONY Complaint has been concluded by a Final
Order adjudicating, or approving the settlement of, such adversary proceeding (the
"Trigger Date"), after giving effect to (i) the amount of distributions the NonCitadel-

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Beneficiary Customers would be entitled to receive pursuant to such Final Order and the
Plan, (ii) the distributions the NonCitadel-Beneficiary Customers have received under the
Plan at the time of the Trigger Date, and (iii) the amount of distributions the NonCitadel-
Beneficiary Customers would receive pursuant to the liquidation of any securities
remaining in the Estate as of the Trigger Date based upon the estimation of such
proceeds, then each Citadel-Beneficiary Customer that is an Electing Holder will
contribute an amount (the "True-up Amount") equal to such Electing Holder's share,
calculated as a percentage equivalent to its Class 3 Customer Claim on account of SEG 1
Customer accounts in relation to all Citadel-Beneficiary Customers' Class 3 Customer
Claims on account of SEG 1 Customer accounts as of the Petition Date, factored against
the lesser of: (i) the aggregate amount the Citadel-Beneficiary Customers would
hypothetically be required to contribute to cause the NonCitadel-Beneficiary Customers
to meet the Release Distribution Threshold as of the Trigger Date; and (ii) the aggregate
amount the Citadel-Beneficiary Customers would hypothetically be required to contribute
to cause the NonCitadel-Beneficiary Customers to achieve a Percentage Recovery
equivalent to the Citadel-Beneficiary Customers’ Percentage Recovery;

(d.) The True-up Amount will be due within twenty (20) days of the
Trigger Date and will be paid to the Liquidation Trust for Pro Rata distribution on
account of the NonCitadel-Beneficiary Customers’ Class 3 Claims;

(e.) In the event that the Liquidation Trustee makes distributions of
Trust Assets subsequent to the Trigger Date (such distributions, "Post-Trigger Date
Distributions"), the Post-Trigger Date Distributions will be allocated and distributed first
to those Electing Holders that timely contributed the True-up Amount in an amount
necessary to reimburse such Electing Holders to the extent their contribution exceeds
what the True-up Amount would have been if the Post-Trigger Date Distributions had in
fact occurred prior to the Trigger Date;

(f.) In the event that the ultimate liquidation of securities for which the
Trustee and his professionals had estimated the proceeds of for purposes of calculating a
True-up Amount yields actual proceeds less than estimated, each Citadel-Beneficiary
Customer that is an Electing Holder will contribute an amount necessary, within twenty
(20) days of such determination, to satisfy what its respective True-up Amount would
have been if the liquidation of all of the securities in the Estate had in fact occurred prior
to the Trigger Date;

(g.) Upon the achievement of the same Percentage Recovery for all
Holders of Allowed Class 3 Customer Claims, in lieu of the Pro Rata distributions
provided for in Sections 4.4(a) and 4.5(c) of the Plan, any Citadel-Beneficiary Customer
who is an Electing Holder will receive its share, calculated as a percentage equivalent to
its Class 3 Customer Claim on account of SEG 1 Customer accounts in relation to all
Citadel-Beneficiary Customers’ Class 3 Customer Claims on account of SEG 1 Customer
accounts, factored against 20% of the aggregate distributions to be made on account of
Allowed Customer Claims and Allowed deficiency General Unsecured Claims under the
Plan (the "20% Share Distributions") thereafter; provided that, the difference between
such 20% Share Distributions and the distribution that would have been payable to such

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Electing Holder under Sections 4.4(a) and 4.5(c) of the Plan, will be distributed Pro Rata
to Non-Citadel-Beneficiary Customers (the "80/20 Transfer");

(h.) By becoming Electing Holders, Citadel-Beneficiary Customers
will be deemed to have consented to the jurisdiction of the Bankruptcy Court and deemed
to have waived any objection or defense with respect to their unsatisfied obligation to
remit the True-up Amount within twenty (20) days of the Trigger Date, and; the
Bankruptcy Court will be authorized to enter judgment on the pleadings for the True-up
Amount, and any post-judgment remedies, within five (5) Business days of the Filing of a
complaint and request therefor;

(i.) | Claims on account of SEG 2, SEG 3, or SEG 4 Customer accounts
held by Citadel-Beneficiary Customers that are Electing Holders will be treated under the
Plan as if such Claims were held by NonCitadel-Beneficiary Customers only with respect
to distributions as provided for in Sections 4.4 and 4.5 of the Plan; and

Gj.) | A Citadel-Beneficiary Customer will be ineligible to participate in
the settlement described in this Section 10.10 if, as of the date that is ten (10) days prior
to the Voting Deadline, such Customer is the subject of a pending adversary proceeding
to recover Property for the benefit of the Estate.

The Release provided for in Section 10.10 of the Plan is to be determined
(if not previously triggered) as of the conclusion of the adversary proceeding commenced
by the Chapter 11 Trustee against BONY. The selection of the Trigger Date was the
product of protracted negotiation and consideration of cost/benefit analyses among the
Plan Proponents and was ultimately selected because the Plan Proponents expect this
Cause of Action to be (1) the most material contingent asset of the Estate, and
(2) resolved at a time sufficiently distant to have allowed the liquidation of the Estate’s
securities to have concluded. Section 10.10 of the Plan also includes provision in the
event that Estate securities remain unliquidated as of the resolution of the BONY
litigation so as not to prejudice any Citadel-Beneficiary Customer who becomes an
Electing Holder if the subsequent liquidation of such securities would have reduced such
Electing Holder’s True-up Amount.

The total dollar amount of Claims held by NonCitadel-Beneficiary
Customers as of the Petition Date is roughly $739 million. Assuming all “Assets
available for distribution to all other creditors” as described in the Liquidation Analysis,
as well as various items such as interest earned on the cash on hand (cash on hand is
measured in the Liquidation Analysis as of the date of this disclosure statement), coupon
payments on securities that have not yet been liquidated, and other miscellaneous
recoveries that the Trustee expects to receive prior to Plan confirmation, are distributed to
NonCitadel-Beneficiary Customers, the Plan Proponents estimate that an additional
roughly $50-75 million would need to be recovered in order to trigger the Release for
Electing Holders. Thus, for example, under a scenario in which the Liquidating Trustee
(i) is completely unsuccessful in pursuing each of the estate’s claims against BONY,
M&P, Citadel and other potential litigation targets as described in Sections V.H and V.I
above (a worst-case scenario the Plan Proponents believe to be very unlikely), and also

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(ii) fails in pursuing all claims against the Citadel Beneficiary Customers that do not opt
to become Electing Holders, if any, and such non-electing Citadel Beneficiary Customers
are not required to disgorge any amounts received pre- or post-petition, then the
estimated shortfall below the Trigger Amount would be in the $50-75 million range, and
each Electing Holder would be responsible in such a scenario for payment of a True-Up
Amount equal to its percentage (calculated as described above) of roughly
$50-75 million. Given the Estate’s Causes of Action and the cost of litigation, the Plan
Proponents believe that Citadel Beneficiary Customers who decide not to become
Electing Holders and instead litigate the various issues proposed to be resolved under the
settlement face substantially greater liability and cost than the amount they might need to
contribute as Electing Holders, and in the event of a relatively small shortfall that they
face liability several times greater than they would under the settlement.

The 80/20 Transfer is an integral component of the settlement, a product
of protracted negotiation, which provides consideration to NonCitadel-Beneficiary
Customers upon achieving parity with Citadel-Beneficiary Customers in the form of a
transfer of value among Electing Holders in exchange for bearing the risk of reliance
upon contingent assets, such as Causes of Action, during the interval between the Release
Distribution Threshold and such a point of parity. The incremental recovery transferred
to NonCitadel-Beneficiary Customers, provided for by the 80/20 Transfer, is greater than
what the Plan would otherwise yield given the approximate ratio of Claims held by
Citadel-Beneficiary Customers to Claims held by NonCitadel-Beneficiary Customers of
65/35 at the point of parity.

Claims held by Citadel-Beneficiary Customers on account of SEG 2,
SEG 3, or SEG 4 Customer accounts will not be included in calculating an Electing
Holder’s True-up Amount. Claims held by Citadel-Beneficiary Customers who are
Electing Holders on account of SEG 2, SEG 3, or SEG 4 Customer accounts will not be
eligible to share with NonCitadel-Beneficiary Customers in distributions made under
Section 10.10(d) of the Plan pursuant to the contribution of True-up Amounts.

The recovery under the Plan for Citadel-Beneficiary Customers who opt
for the settlement is wholly contingent upon the outcome of litigation commenced by the
Chapter 11 Trustee or the Liquidation Trustee against third-parties (including Citadel-
Beneficiary Customers that do not opt for the settlement). Depending upon the extent of
the Liquidation Trustee’s success in this regard, the approximately 71% Percentage
Recovery such Holders currently possess could be materially diminished if such Holders
are required to contribute the True-up Amounts that are a feature of the settlement.

The recovery under the Plan for Citadel-Beneficiary Customers who do
not opt for the settlement is wholly contingent upon the outcome of litigation commenced
by the Chapter 11 Trustee or the Liquidation Trustee against third-parties (including
litigation commenced against such Citadel-Beneficiary Customers that do not opt for the
settlement). Depending upon the extent of the Liquidation Trustee’s success in this
regard, the approximately 71% Percentage Recovery such Holders currently possess
could be materially diminished.

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The foregoing is only a summary of Section 10.10 of the Plan. Creditors
are directed to Section 10.10 of the Plan for a more precise description of the settlement
offer that is being extended to Citadel-Beneficiary Customers.

O. Assignment of Private Actions to the Liquidation Trust

On the Transfer Date, a distinct tranche of the Liquidation Trust
("Tranche-P") will be established on the terms set forth in the Trust Agreement.
Tranche-P will hold the Non-Estate Claims owned by the Tranche-P Electors and which
Non-Estate Claims, even after contribution, will not become Property. Holders of Claims
that are not Tranche-P Electors will not receive any distribution on account of Tranche-P.
Any recoveries on account of such Non-Estate Claims will be treated as provided for in
the Trust Agreement in a manner which will mirror the treatment of Customer Property
under the Plan. Tranche-P will be managed and operated by the Liquidation Trustee.
The Liquidation Trust Committee will have certain approval rights on key issues relating
to the operation and management of Tranche-P.

Notwithstanding anything to the contrary in the Plan, it will be a condition
to any Tranche-P Elector’s effective transfer of Non-Estate Claims, and therefore a
condition to benefiting from Tranche-P, that such Holder evidence its ownership of such
Non-Estate Claim to the Liquidation Trustee.

P. Insider Settlement

The Plan contains a number of provisions relating to settlement by and
between the Chapter 11 Trustee, on the one hand, and Philip M. Bloom, the Philip M.
Bloom Revocable Trust, the Sybil Bloom Revocable Trust, the Philip Bloom Remainder
Trust and the Philip M. Bloom Grantor Annuity Trust, Eric A. Bloom, Sentinel
Investment Group, Inc., Sentinel Financial Services, Inc., Sentinel Management
International, Ltd., Fountainhead Investments, Inc., EB Trust 2005 and Eric A. Bloom
Living Trust, on the other hand, approved by Bankruptcy Court order entered June 9,
2008 [Docket No. 577] (the “Insider Settlement’). Those provisions include:

(a.) | Contribution Bar Relating to Claims Against Certain Insiders. The
Plan provides that all Persons are permanently barred, enjoined, and restrained from
commencing, prosecuting, or asserting any request, claim, or cause of action for or
otherwise seeking contribution or common law indemnification, however denominated,
against any of the Philip M. Bloom, the Philip M. Bloom Revocable Trust, the Sybil
Bloom Revocable Trust, the Philip Bloom Remainder Trust, the Philip M. Bloom Grantor
Annuity Trust, Eric A. Bloom, Fountainhead Investments, Inc., EB Trust 2005, Sentinel
Financial Services, Inc., Eric A. Bloom Living Trust and Sybil Bloom (the “Insider
Releasees”) based upon, relating to, or arising out of (A) any claims asserted or
judgments obtained against any Person by the Chapter 11 Trustee or the Estate, or
amounts actually paid by an Person to the Chapter 11 Trustee or the Estate based on such
claims or judgments, whether by settlement or otherwise, and/or (B) liability owed, or
alleged or claim to be owed, or amounts paid, whether by settlement or otherwise, to the
Chapter 11 Trustee or the Estate and (C) the costs of defending against claims, causes of

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action, demands, or requests asserted or made by the Chapter 11 Trustee (collectively, the
“Contribution Bar”). Entry of the Confirmation Order shall constitute findings that (i) the
Insider Settlement was negotiated and reached in good faith and in accordance with
applicable law relating to the Contribution Bar, and (ii) all legal requirements relating to
the Contribution Bar have been satisfied in connection with the Insider Settlement and
the parties have acted in good faith in all respects relating thereto.

(b.) Injunction Against Certain Insiders. The Plan provides that the
Insider_Releasees_are_hereby permanently barred, enjoined, and restrained from
commencing, prosecuting, or asserting any request, claim, or cause of action for or
otherwise seeking contribution or common law indemnification, however denominated,
against any Person based upon, relating to, or arising out of (A) any claims asserted or
judgments obtained against the Insider Releasees by the Chapter 11 Trustee or the Estate,
or amounts actually paid by the Insider Releasees to the Chapter 11 Trustee or the Estate
based on such claims or judgments, whether by settlement or otherwise, and/or (B)
liability owed, or alleged or claimed to be owed, or amounts paid, whether by settlement
or otherwise, to the Chapter 11 Trustee or the Estate and (C) the costs of defending
against claims, causes of action, demands, or requests asserted or made by the Chapter 11
Trustee.

(c.) No Bar Against Estate Claims. None of the releases pertaining the
Insiders shall be construed to discharge any liability of any Person to the Chapter 11
Trustee or the Estate or to preclude any adversary proceeding, claim, cause of action,
demand, request for relief, or recovery, whether or not currently pending, by the
Chapter 11 Trustee against or from any Person.

(d.) Pro Tanto Judgment Reduction. The Plan provides that any
monetary award or judgment obtained by the Chapter 11 Trustee from or against any
Person for the same injuries alleged in the adversary proceeding Grede v. Bloom, et al.,
Adv. No. 07-981 (Bankr. N.D. Ill) (the “Insider Adversary Proceeding”) for which
contribution or common law indemnification is available from the Insider Releasees,
shall be reduced pro tanto by the amount set forth in the settlement agreements
memorializing the Insider Settlement, copies of which were attached to the motion
seeking approval of the Insider Settlement [Docket No. 503] (the “Settlement
Agreements”), regardless of the Insider Releasees’ and the Person’s relative fault or any
other consideration.

(f.) | Challenge to Contribution Bar or Judgment Reduction. The Plan
provides that if the Contribution Bar is found to be invalid by any court for any reason, or
if at any time the method of judgment reduction set forth above and in the order
approving the Insider Settlement is found to be invalid, the Contribution Bar and other
provisions of the Insider Settlement shall be null and void to the extent set forth in the
Settlement Agreements, and the rights and obligations of the Chapter 11 Trustee and
Insider Releasees shall be as set forth in the Settlement Agreements. In addition, in the
event of any challenge to the Contribution Bar in a judicial or similar proceeding, and for
so long as such challenge is pending, the Insider Releasees shall have a lien and claim
against any and all funds of the estate (including funds recovered in the future) in an

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amount equal to the amount necessary to satisfy the Chapter 11 Trustee’s obligations to
return certain funds as provided in the Settlement Agreements, subordinate and subject
only to costs of administration. Notwithstanding the foregoing, however, nothing herein
shall be deemed to require the Chapter 11 Trustee to seek to recover any distributions
already made to creditors.

(g.) | Estate Released Claims. Entry of the Confirmation Order shall
constitute findings that (i) the Estate Released Insider Claims constitute the exclusive
property of the Estate and (ii) the Chapter 11 Trustee holds the sole and exclusive
standing to seek recovery on account of the Estate Released Insider Claims. All creditors
of the Estate including, but not limited to contingent creditors, Persons who have filed
claims against the Estate and all Persons sued or to be sued by the Estate, are hereby
permanently barred, enjoined, and restrained from commencing, prosecuting, or asserting
any action or proceeding against the Insider Releasees based on all manners of action,
causes of action, suits, debts, accounts, promises, warranties, damages and consequential
damages, demands, agreements, costs, expenses, claims or demands whatsoever, of any
kind or nature whether known or unknown, liquidated or unliquidated, disputed or
undisputed, contingent, inchoate or matured, in law or in equity which the Chapter 11
Trustee, Debtor, or Estate now have or ever had against the Insider Releasees upon or by
reason of any manner, cause or thing whatsoever on or at any time prior to May 14, 2008,
including, but not limited to claims concerning, arising out of, or relating to the facts,
circumstances, events, transactions or transfers alleged or which could have been alleged
in the Insider Adversary Proceeding (the “Estate Released Insider Claims”).

(h.) The Insider Settlement does not (i) act as an injunction or bar
against any third party, including any Creditor of the Estate, from bringing any direct
claims they may have against the Insider Releasees; or (ii) impact or have any effect on
the property of the Estate issue/Customer Property issues described in Section VILA.
above.

Q. Cantor Escrow

On April 8, 2008, the Chapter 11 Trustee and Cantor Fitzgerald entered
into the Cantor Turnover Stipulation, pursuant to which the parties agreed that Cantor
would turnover surplus proceeds from the liquidation of repo securities totaling
$3,491,573.79 (the "Cantor Escrowed Funds") to the Chapter 11 Trustee to be held in a
segregated account pending an order or plan providing for its distribution. The Plan
provides for the distribution of the Cantor Escrowed Funds. The notice of the
Confirmation Hearing will serve as the notice required by the Cantor Turnover
Stipulation to Cantor and all known creditors and customers of the Debtor of the
distribution of the Cantor Escrowed Funds in accordance with the Plan. The 20-day
filing period referenced in paragraph 3 of the Cantor Turnover Stipulation shall be
deemed to expire on the Voting Deadline. If on or before the Voting Deadline (i) Cantor
shall have filed a motion or petition seeking payment from the Cantor Escrowed Funds of
any setoff, recoupment or other rights (including, without limitation, its rights as a
secured creditor with respect to the Cantor Escrow Funds) under the Master Repurchase
Agreement by and between Cantor and Debtor dated as of October 25, 2004 or applicable

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law, or (ii) any other person or entity asserting an interest in or claim against any of the
Cantor Escrowed Funds shall file a motion or petition with the Bankruptcy Court
asserting such interest or claim, and such motions or petitions, if any, have not been
resolved by Final Order on or before the Effective Date (which may include the
Confirmation Order), then the Cantor Escrowed Funds will remain in the Cantor Escrow
Account pending resolution by Final Order. In accordance with the Cantor Turnover
Stipulation, if Cantor or any other person or entity asserting an interest in or claim against
the Cantor Escrowed Funds does not assert such claims or interests prior to the Voting
Deadline, then all claims to or against the Cantor Escrowed Funds shall be extinguished
and deemed waived, except as provided in the Plan. If such claims or interests are so
asserted, such claims or interests shall be determined and paid in accordance with the
Cantor Turnover Stipulation, as established by Final Order.

R. Exculpation

Notwithstanding anything herein to the contrary, as of the Effective Date,
none of the Chapter 11 Trustee and his advisors, attorneys, financial advisors,
accountants, other professionals, the Creditors Committee, the individual members of the
Creditors Committee and its and their respective advisors, attorneys, financial advisors,
agents, other professionals and affiliates will have or incur any liability for any claim,
cause of action or other assertion of liability for any act taken or omitted to be taken since
the Petition Date in connection with, or arising out of, the Chapter 11 Case, formulation,
negotiation, preparation, solicitation of votes with respect to, the confirmation,
consummation, or administration of the Plan, or property to be distributed under the Plan,
except for willful misconduct or gross negligence to the maximum extent provided for
under 805 ILCS 5/8.75 or federal law; provided, however, nothing in the Plan. will be
construed to exculpate the Citadel-Beneficiary Customers who do not become Electing
Holders in connection with their receipt of Citadel Sale Distributions or SEG 1 Special
Distributions; provided, however, that nothing in the Chapter 11 Case or the Plan shall in
any way be construed as discharging, releasing, or relieving the Debtor, or any other
party, in any capacity, from any responsibility with respect to the Pension Plan under any
law or regulatory provision relating to the termination of the Pension Plan, unless the
Pension Plan is terminated prior to the confirmation of the Plan.

S. Extinguishment of Liens

On the Effective Date, all Liens against any property of the Debtor, except
to the extent provided in the Plan or the Confirmation Order, will be deemed forever
extinguished and discharged.

T. Preservation/Waiver of Causes of Action

Pursuant to the Plan, and Sections 544, 547, 548, 549, 550, 551, 553 and
1123(b)(3)(B) of the Bankruptcy Code, the Liquidation Trustee will retain all rights and
all Causes of Action accruing to the Debtor including, without limitation, the avoidance
of any transfer of an interest of the Debtor in property or any obligation incurred by the
Debtor; except as expressly noted in Section 10.10 of the Plan or Confirmation Order,

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